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1
2                      UNITED STATES DISTRICT COURT
3                     SOUTHERN DISTRICT OF NEW YORK
4          ------------------------------
           GEORGE PACKARD, EDWARD BECK,
5          MICHELLE BERGER, ARI COWAN,
           CONNOR HICKS, CHARLES MEACHEM,
6          CHRIS PHILLIPS, LARRY SWETMAN
           and AMADON DELLEBA, individually
7          and on behalf of all other        Case No.:
           similarly situated,               15-cv-71310
8                                            (AT)(RLE)
                               Plaintiffs,
 9
10                      vs.
11
           THE CITY OF NEW YORK, a
12         municipal entity,
13                            Defendant.
           ------------------------------
14
15                                            October 4, 2018
                                                 10:18 a.m.
16
17               Deposition of THE CITY OF NEW YORK, by HEATHER
18         PERKINS, taken by Plaintiffs, held at the offices of
19         Wylie Stecklow, PLLC, 217 Centre Street, New York,
20         NY 10013, pursuant to notice and order, before
21         Elizabeth F. Tobin, a Registered Professional
22         Reporter and Notary Public of the State of New
23         York.
24
25

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1
2          A P P E A R A N C E S:
3
4          On behalf of the Plaintiffs:
5                   WYLIE STECKLOW, PLLC
6                   217 Centre Street
7                   New York, New York 10013
8                   212.566.8000
9                   BY:     WYLIE M. STECKLOW, ESQ.
10                          wylie@wylielaw.com
11                          JON AVINS, ESQ.
12
13
14         On behalf of the Defendant:
15                  CORPORATION COUNSEL
16                  100 Church Street
17                  New York, New York 10007
18                  212.356.3531
19                  BY:     AMY ROBINSON, ESQ.
20                          arobinso@law.nyc.gov
21                          JONI FORSTER-GALVIN, ESQ.
22
23         ALSO PRESENT:
24
25                          JOE SHARKEY

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1
2                                IT IS HEREBY STIPULATED AND AGREED
3                   by and between the attorneys for the
4                   respective parties herein, that filing and
5                   sealing be and the same are hereby waived.
6                            IT IS FURTHER STIPULATED AND AGREED
7                   that all objections, except as to the form
8                   of the question, shall be reserved to the
9                   time of the trial.
10                           IT IS FURTHER STIPULATED AND AGREED
11                  that the within deposition may be sworn to
12                  and signed before any officer authorized to
13                  administer an oath, with the same force and
14                  effect as if signed and sworn to before the
15                  Court.
16
17
18                                    - oOo -
19
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21
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23
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25

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1                                      H. Perkins
2          H E A T H E R       P E R K I N S,
3          of lawful age, called by the Plaintiffs for
4          examination pursuant to the Federal Rules of Civil
5          Procedure, having been first duly sworn, as
6          hereinafter certified, was examined and testified as
7          follows:
8                        EXAMINATION OF HEATHER PERKINS
9          BY MR. STECKLOW:
10                        MR. STECKLOW:      The time is now 10:19 a.m.
11                  We are in my office at 217 Centre Street.              My
12                  name is Wylie Stecklow.       We're here for the
13                  deposition of the City of New York by Sergeant
14                  Heather Perkins.
15                        The witness has been sworn.           Sitting to
16                  my left is the court reporter whose name is --
17                        COURT REPORTER:      Elizabeth Tobin.
18                        MR. STECKLOW:      -- Ms. Tobin.       Then we
19                  have the witness.     Then we have one of the
20                  attorneys for the witness, ACC Amy Robinson.
21                  Then we have an attorney from the City Legal
22                  Bureau Joan Forster-Galvin.           And then sitting
23                  next to me is Jon Avins, an attorney.           Sitting
24                  next to Jon Avins is Joe Sharkey, a clerk.
25                  Q.    Good morning.      We are going to start with

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1                                     H. Perkins
2          some basics.
3                        Have you been deposed before?
4                   A.   Yes, I have.
5                   Q.   How many times have you been deposed
6          before?
7                   A.   Two times.
8                   Q.   Were they both in your capacity as a
9          police officer?
10                  A.   Yes.
11                  Q.   Were they both on behalf of the NYPD?
12                  A.   No, they were not.
13                  Q.   Can you tell me what the first one was?
14                  A.   The first one that I remember is one of
15         my officers under my supervision and myself were
16         being sued for false arrest.
17                  Q.   Was that a federal or state case?
18                  A.   State.
19                  Q.   Can you tell me about the second one?
20                  A.   I don't remember.
21                  Q.   You don't remember if it was for the
22         city?
23                  A.   No, I don't remember.            It was before that
24         and I don't remember the circumstances surrounding
25         it.

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1                                       H. Perkins
2                   Q.    Okay.    Fair enough.        Because you've been
3          deposed twice, I'm going to assume you understand
4          some of the basics.          I'm going to go through them
5          quicker than I would normally do for somebody who
6          has not been deposed before.
7                   A.    Okay.
8                   Q.    So, if you don't understand the question,
9          you need to let me know.            If you don't hear a
10         question, you need to let me know.               If my question
11         is unclear in any way, you need to let me know.                If
12         you don't know the answer to my question, you need
13         to let me know.
14                        Is that all understandable?
15                  A.    Yes.
16                  Q.    And agreed to?
17                  A.    Yes.
18                  Q.    If there's something that might help you
19         remember an answer to my question, you need to let
20         me know.      If there's any reason -- I'll stop there.
21                        Is that acceptable?
22                  A.    Yes.
23                  Q.    Is there any reason why you can't testify
24         truthfully and accurately here today?
25                  A.    No.

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1                                     H. Perkins
2                   Q.   Is there any mental or health reason why
3          you can't testify truthfully and accurately here
4          today?
5                   A.   No.
6                   Q.   I'm going to ask you some questions that
7          I'm uncomfortable asking, but I'm trying to get more
8          comfortable.
9                        Have you consumed any alcohol within the
10         last 24 hours?
11                  A.   No.
12                  Q.   Have you taken any drugs in the last 24
13         hours?
14                  A.   No, I have not.
15                  Q.   Are you aware of any physical condition
16         that would affect your ability to testify truthfully
17         and accurately here today?
18                  A.   No, I am not.
19                  Q.   Are you aware of any mental conditions
20         that would affect your ability to testify truthfully
21         and accurately here today?
22                  A.   No, I am.
23                  Q.   Are you taking any medications that would
24         affect your ability to testify truthfully and
25         accurately here today?

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1                                     H. Perkins
2                   A.   No.
3                   Q.   Are there any medications you're supposed
4          to take but yet you're not taking that might affect
5          your ability to testify truthfully and accurately
6          here today?
7                   A.   No.
8                   Q.   So, is there any reason at all why you
9          cannot testify truthfully and accurately here today?
10                  A.   No.
11                  Q.   And you are aware that you just swore an
12         oath to tell the truth, the same oath that you would
13         swear to if you were in a court of law -- a much
14         nicer area, much nicer room, but it's the same oath
15         to tell the truth, correct?
16                  A.   Yes.
17                  Q.   Do you understand at the end of this at
18         some point you'll be provided a copy of the
19         transcript and you can review it and make any
20         changes that you think if the court reporter or
21         myself didn't get the question right and you give an
22         answer that wasn't transcribed accurately you're
23         allowed to make a change to that?              Do you understand
24         that?
25                  A.   Yes.

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1                                     H. Perkins
2                   Q.   And you understand if you do make such a
3          change, I'll be able to question you on that if we
4          go to trial?
5                   A.   Yes.
6                   Q.   Now I'm going to explain a little bit
7          about the 30(b)(6).        And I think you've probably
8          already been told by your attorney by 30(b)(6).
9          Don't answer -- anything your attorney told you is
10         an attorney-client communication and you should not
11         express that out loud.
12                       But when I ask you a question today, it's
13         going to be asking the City of New York the
14         question, correct?
15                  A.   Yes.
16                  Q.   And you're here to testify on behalf of
17         the City of New York, correct?
18                  A.   Yes.
19                  Q.   So when I refer to you in this
20         deposition, I'm really referring to the City of New
21         York or the NYPD, correct?
22                  A.   Yes.
23                  Q.   And that if I use the word NYPD or I use
24         the word City of New York, those are interchangeable
25         for today for purposes of this deposition.              Is that

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1                                        H. Perkins
2          acceptable?
3                   A.      Yes.
4                   Q.      When I use the term document, I'm
5          referring to any kind of recorded information,
6          including paper records, electronic documents,
7          electronic information and databases, images and
8          video.        Unless I expressly say I intend to limit it,
9          we're going to use the word document to be expansive
10         like that.
11                          Is that acceptable?
12                  A.      Yes.
13                  Q.      You understand that your answers in
14         today's deposition will be binding on the City of
15         New York in the same way that any witness testifying
16         on their own behalf will be bound by their answers,
17         correct?
18                  A.      Yes.
19                  Q.      And do you agree that as a 30(b)(6)
20         witness representing the City in this deposition,
21         you're under a duty to inform yourself as to the
22         subject matter of this deposition?
23                  A.      Yes.
24                  Q.      And do you believe you've fulfilled that
25         obligation?

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1                                      H. Perkins
2                   A.    Yes.
3                         MR. STECKLOW:       I want to mark as 1 and 2
4                   these two items.
5                         (Plaintiffs' Exhibit 1, procedures
6              and methods of training, marked for
7              identification.)
8                         (Plaintiffs' Exhibit 2, notice,
9              marked for identification.)
10                  Q.    I ask you to look at No. 1 first and...
11                  A.    Yes.
12                  Q.    Then I ask you to look on page 9 at
13         number 33 on Exhibit 2.
14                        MS. ROBINSON:       This is one I don't get a
15                  copy of?
16                        MR. STECKLOW:       No, I gave you a copy.
17                  A.    Yes.
18                  Q.    So, within Exhibit 1, it references
19         relevant training subjects; does it not?
20                  A.    Mm-hmm.
21                  Q.    And in Exhibit 2 in paragraph 33 it
22         defines relevant training subjects; does it not?
23                  A.    Yes.
24                  Q.    Are you prepared to testify today to the
25         relevant training subjects and to the topics that

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1                                      H. Perkins
2          are provided in Exhibit 1?
3                   A.   Yes.
4                   Q.   Now, I'd like you to look at Exhibit 2.
5          Let's move to page 21.
6                   A.   Yes.
7                   Q.   And are you ready to testify as to 41
8          with a limitation that that should be 2004 to 2012?
9                        MS. ROBINSON:        You can answer.
10                  A.   Yes.
11                  Q.   42?
12                  A.   Yes.
13                  Q.   43?
14                  A.   Yes.
15                  Q.   I'm going to cross off 44.          We're going
16         cross off 45.        46, development of curriculum,
17         lessons and classes?
18                  A.   Yes.
19                  Q.   47, selection and training of faculty and
20         trainers?
21                  A.   Yes.
22                  Q.   48, measurement of training learning or
23         training effectiveness including measurement of post
24         training results?
25                  A.   Yes.

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1                                         H. Perkins
2                            MS. ROBINSON:       Can we go off?
3                            (Discussion held off the record.)
4                   Q.       49?
5                            MS. ROBINSON:       Objection.       Beyond the
6                   scope.     You can answer.
7                   A.       I don't have a full knowledge of that,
8          but I do have some knowledge of that.
9                   Q.       50, maintenance of records concerning
10         training?
11                  A.       Yes.
12                  Q.       51, the people, police units or civil
13         government units responsible for or involved in acts
14         of the City of New York or the NYPD concerning the
15         topic items within the Section IV training?
16                  A.       Yes.
17                           MS. ROBINSON:       Just an objection.          51 was
18                  modified.
19                  Q.       Now let's look at 53.            Training
20         concerning the relevant training subjects, we've
21         already answered that.             You are ready to testify to
22         that, correct?
23                  A.       Correct.
24                  Q.       B we're going to cross off.            C, training
25         concerning constitutional limits on police power to

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1                                     H. Perkins
2          arrest, seize or detain civilians in public places.
3                   A.   Yes.
4                   Q.   Are you ready to testify about that?
5                   A.   Yes.
6                   Q.   Are you ready to testify about training
7          concerning constitutional limits on police power --
8                        53-D, are you ready to testify on
9          training concerning constitutional limits on police
10         power to regulate the exercise of civilians First
11         Amendment rights to speech, assembly and the redress
12         of grievances?
13                  A.   Yes.
14                  Q.   54, are you ready to testify about
15         training concerning particular duties, issues,
16         events or occurrences during the time period of
17         June 1st, 2011 to September 17th, 2012 and training
18         concerning "Occupy Wall Street" or concerning public
19         protests and assemblies in public places?
20                  A.   Yes.
21                  Q.   I think B was crossed off.          C, are you
22         ready to testify about training concerning
23         particular duties, issues, events or occurrences
24         during the time period January 31st, 2003 to
25         September 2nd, 2004 training concerning protests

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1                                         H. Perkins
2          related to the Republican National Convention or
3          concerning public protests and assemblies in public
4          places?
5                   A.       Yes.
6                   Q.       D is crossed off.        E is crossed off.          F
7          is crossed off.          G, H, I, all crossed off.
8                            So we are now on 54.             Can you read 54?
9                   A.       Weren't we just on 54?
10                  Q.       I'm sorry.     55.     Withdrawn.       We're now on
11         55.
12                           Can you read 55 and tell me if you're
13         ready to testify as to 55?               It incorporates other
14         topics from what we've already discussed into it.
15                           MS. ROBINSON:        Have you asked a question?
16                           MR. STECKLOW:        If she's ready to testify
17                  as to topic 55.
18                           MS. ROBINSON:        Then I'm just going to
19                  make an objection and say it's outside the
20                  scope.     I think that we deleted this one.
21                           MR. STECKLOW:        I didn't see it under my
22                  notes, but honestly I'm not that concerned
23                  about it.
24                           MS. ROBINSON:        Okay.       You can answer.        I
25                  think it's outside the scope.

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1                                      H. Perkins
2                   A.    So, any training with -- just if you
3          could clarify.
4                         MR. STECKLOW:      I'm going to withdraw 55
5                   so we don't get confused by it.
6                   Q.    When did you start preparing for today's
7          deposition?
8                   A.    In August.
9                   Q.    When was your first communication with
10         any attorney in preparation for today's deposition?
11                  A.    With regard to setting up a time to meet
12         or actually meeting?
13                  Q.    Any preparation.
14                  A.    In August.
15                  Q.    When in August?
16                  A.    I don't have a particular date.
17                  Q.    Early, late, mid?
18                  A.    Mid-August.
19                  Q.    Was that a meeting or was that a
20         communication to set up a meeting?
21                  A.    Communication to set up a meeting.
22                  Q.    When was your first actual meeting?
23                  A.    This past Tuesday.
24                  Q.    That was your first substantive meeting
25         or preparation for today's deposition?

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1                                       H. Perkins
2                         MS. ROBINSON:        Objection.
3                   Mischaracterizing her testimony.
4                         MR. STECKLOW:        It was a question.     That's
5                   why I asked it, to understand if that's what
6                   she was saying.
7                   A.    It was the first meeting with somebody to
8          prepare for the testimony.            That's not the first
9          time that I prepared for my testimony.
10                  Q.    Okay.    Thank you.       What did you do
11         between the phone call in mid-August, more or less,
12         and this meeting last -- this past Tuesday to
13         prepare?
14                  A.    Reviewed materials, training materials,
15         tried to find the documents that would have covered
16         the scope of what I had to prepare for.              I discussed
17         getting those documents or finding those documents
18         with members of the training bureau so I could
19         prepare for the testimony.
20                  Q.    Okay.    And where did you look for the
21         materials that you were searching for?
22                  A.    There's the curriculum evaluation unit
23         which maintains the previous academy classes,
24         material for training recruits, so I talked with
25         them and got those materials.              I also spoke with

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1                                      H. Perkins
2          Sergeant Newman who is the sergeant in charge of the
3          archives who has access to materials.
4                   Q.   Was that in August or September?
5                   A.   That was in August.
6                   Q.   Did you receive any materials from your
7          attorney to review in August?
8                   A.   Yes.
9                   Q.   Which materials did you receive?
10                  A.   It was materials that were the same
11         materials that I had gotten from the curriculum
12         evaluation.     It was the lesson plans and student
13         guide materials.
14                  Q.   You said you met with your attorney this
15         past Tuesday.        Had you spoken to her on the phone
16         prior to that since the call in mid-August you
17         described?
18                  A.   To set up a meeting, yes.
19                  Q.   Did you have a substantive conversation?
20                  A.   No.
21                  Q.   Were there any e-mail communications that
22         were substantive in the interim?
23                  A.   No.
24                  Q.   So, when you began to review training
25         materials in August, what triggered that?               The first

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1                                      H. Perkins
2          phone call was just to set up a meeting?
3                   A.   Because I was advised as to what I would
4          be expected to be prepared to do in preparation for
5          being a witness.
6                   Q.   Okay.    Have all the documents that you
7          looked at been produced in this case, to the best of
8          your knowledge?
9                   A.   To the best of my knowledge, yes.
10                  Q.   And when did you -- withdrawn.
11                       Did you watch any video in preparation
12         for today's deposition?
13                  A.   Yes, I did.
14                  Q.   How many videos did you watch?
15                  A.   Five or six.
16                  Q.   Can you describe them?
17                  A.   They were YouTube videos of various
18         "Occupy Wall Street" incidents.
19                  Q.   Can you tell me any of them that you
20         recall; a date, a location or anything like that?
21                  A.   There was one video that I don't know
22         what the date was, but it was an interaction with
23         officers at an event area and it was a verbal
24         interaction between an officer and people on the
25         other side of the fence.           There was no action taken.

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1                                       H. Perkins
2                         There was video of a group moving across
3          the street.         I didn't see any police action taken in
4          that video, so I advanced to another one.               There was
5          a video that wasn't the "Occupy Wall Street" but it
6          was under the "Occupy" title, so it was an "Occupy"
7          in the Bronx that I had looked at as well.               And
8          those are the only three that I have specific memory
9          of the content.
10                        MR. STECKLOW:        I want to ask if all of
11                  those videos have been produced.
12                        MS. ROBINSON:        I don't know what she
13                  watched.     She did this on her own initiative,
14                  including the Bronx video.
15                  Q.    Did you turn over any of these videos or
16         turn them over to your attorney in any fashion?
17                  A.    No, because I didn't cite any of them at
18         the time.      It was just going on and looking to see
19         what was on YouTube.
20                  Q.    What was the purpose of you doing that
21         search?
22                  A.    I did not personally attend any of the
23         "Occupy" events.         I was not assigned detail to any
24         of those.      It was just to try to get a sense of
25         what -- what the issue was that we were talking

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1                                         H. Perkins
2          about.        Outside of what you see on the news.
3                   Q.      I'm going to briefly just try to get an
4          outline of your NYPD history.                Can you tell me when
5          you were in the academy?
6                   A.      I was appointed on the 29th of February
7          in 2000 and I graduated in October of 2000.
8                   Q.      2/29/2000 to October.             What was your
9          first assignment?
10                  A.      My first assignment out of the academy
11         was the Manhattan Traffic Control.                   At the time it
12         was Manhattan Traffic Task Force.                   They've since
13         changed the name.
14                  Q.      What does Manhattan Traffic Task Force
15         do?
16                  A.      They direct traffic in Manhattan.
17                  Q.      Do they give tickets as well or it's
18         just --
19                  A.      Yes.
20                  Q.      They do.      Moving violations not parking
21         violations or both?
22                  A.      Both.
23                  Q.      How long were you at the Manhattan
24         Traffic Task Force?
25                  A.      From October of 2000 to January of 2000

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1                                          H. Perkins
2          [sic].        It was a temporary holiday assignment.
3                           MS. ROBINSON:         Can you hear her?
4                           (Discussion held off the record.)
5                   A.      2001.
6                   Q.      Where were you transferred to after the
7          holiday assignment?
8                   A.      Transit District 4 in Manhattan.
9                   Q.      Where is that?         Is that a subway
10         assignment?
11                  A.      Yeah.     It's a -- a district is the
12         equivalent of a precinct for the subway and that's
13         in Union Square and it covers the east side of
14         Manhattan from 125th Street down to East Broadway.
15                  Q.      How long ware were you in that
16         assignment?
17                  A.      I was transferred out of there in
18         December of 2003.
19                  Q.      Where were you transferred to?
20                  A.      Chief of Personnel's Office.
21                  Q.      What does that office do?
22                  A.      That's the staff services section.              I
23         worked at Spring 3100 which is the department
24         magazine.
25                  Q.      Were you a journalist?            Were you an

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1                                     H. Perkins
2          editor?
3                   A.   I wrote stories and took pictures.
4                   Q.   What was your rank at that point?
5                   A.   I was a police officer.
6                   Q.   Was that an assignment that you
7          requested?
8                   A.   Yes.
9                   Q.   How long were you there for?
10                  A.   I was there until May of 2008.
11                  Q.   Where were you transferred in May of '08?
12                  A.   In May of '08 I was promoted to sergeant
13         and transferred to Transit District 23 in Queens,
14         that's on Beach 116th Street.
15                  Q.   How long were you there for?
16                  A.   I was there until May or June of 2012
17         when I was transferred to the academy.
18                  Q.   What was your rank at the time you were
19         transferred to the academy?
20                  A.   Sergeant.
21                  Q.   Were there any courses that you had to
22         take before you were transferred to the academy?
23                  A.   No.
24                  Q.   Once you were at the academy, were there
25         any courses you had to take before you began to

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1                                     H. Perkins
2          instruct at the academy?
3                   A.   Methods of instruction.
4                   Q.   Anything else?
5                   A.   No.
6                   Q.   What was your highest educational degree?
7                   A.   My highest degree completed is a
8          bachelor's degree.
9                   Q.   Where was that?
10                  A.   At Hunter College.
11                  Q.   What year did you receive that degree?
12                  A.   '99.
13                  Q.   Have you ever been a party to litigation
14         involving the NYPD?
15                  A.   Was I sued, is that the question?
16                  Q.   No.    Have you ever been a party to
17         litigation involving the NYPD on either side of the
18         V?
19                  A.   Have I ever sued the police department;
20         is that the question?
21                  Q.   Have you ever been involved in any
22         litigation involving the NYPD, either as a defendant
23         or plaintiff or witness in any fashion?
24                  A.   I was sued once as a sergeant.
25                  Q.   Is that the only time you've been a party

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1                                      H. Perkins
2          to a litigation?
3                   A.    That I know, yes.
4                   Q.    So you were sued once as a sergeant, is
5          that the one we discussed earlier?
6                   A.    Yes.
7                   Q.    So you were never a party to any lawsuit
8          against the NYPD?
9                   A.    Correct.
10                        MR. STECKLOW:       Can we make this
11                  Exhibit 3?
12                        (Plaintiffs' Exhibit 3,
13             12-cv-02957-SAS ECF case complaint, marked
14             for identification.)
15                  Q.    I ask you to look at page 35 of this
16         document which is the second page.
17                  A.    Yes.
18                  Q.    Do you see your name on that, about the
19         fifth down?
20                  A.    Yes.
21                  Q.    I ask you to look at page 48.
22                  A.    Yes.
23                  Q.    Do you see the end of the caption there?
24                  A.    Yes.
25                  Q.    Who is the defendant in this action?

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1                                     H. Perkins
2                   A.   The New York City Police Department.
3                   Q.   So, is this a case where you were a
4          plaintiff against the City of New York and the NYPD?
5                   A.   Yes, it is.
6                   Q.   What was this case about?
7                   A.   This was the -- this was the sergeants'
8          union filing against the Police Department with
9          regard to labor practices.
10                  Q.   So you were one of the plaintiffs in this
11         case?
12                  A.   Yes.
13                  Q.   And you were making a lawsuit against the
14         City of New York and NYPD concerning wages that you
15         were receiving?
16                  A.   Correct.
17                  Q.   You felt that the NYPD was treating you
18         unfairly in the wages you were being paid?
19                  A.   Correct.
20                  Q.   What was the resolution of this case?
21                  A.   The -- I believe the sergeants' union
22         won.
23                  Q.   Was it a settlement, a verdict?            Do you
24         know how it resolved?
25                  A.   I don't know how it specifically

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1                                     H. Perkins
2          resolved.     But I believe it was -- we won.
3                   Q.   From 2004 to 2012 where was academy
4          training held?
5                   A.   From 2004 to 2012 it was held at 20th
6          Street in Manhattan.        That was the location of the
7          police academy but not all academy trainings were
8          held at the academy.
9                   Q.   You're jumping ahead but I got that one
10         coming up.
11                       Has that location changed since 2012?
12                  A.   Yes, it has.
13                  Q.   Where is it currently?
14                  A.   It is in College Point, Queens.
15                  Q.   When did that change?
16                  A.   That changed in 2014.
17                  Q.   At any one time was there more than one
18         location where the academy training was held?
19                  A.   Yes.
20                  Q.   And between 2004 and 2012 other than 20th
21         Street, Manhattan, where was academy training held?
22                  A.   Academy training was held at Rodman's
23         Neck in the Bronx.
24                  Q.   Anywhere else?
25                  A.   Avenue X in Brooklyn, 300 Gold Street in

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1                                          H. Perkins
2          Brooklyn.         And there are also trainings that were
3          conducted in precinct locations by academy personnel
4          and there were other locations for specific other
5          department locations for trainings as well.
6                   Q.       Okay.    When you say other locations,
7          you've now described some very specific locations.
8          You described the precincts in general.                 In
9          addition, where else would the trainings take place?
10                  A.       The trainings could have taken place in a
11         number of different locations.                 Trainings could take
12         place at One Police Plaza.               Trainings can take place
13         in other police facilities.                There -- depending on
14         what the training is and necessitated, would be
15         where it would have been held.
16                  Q.       Just now you answered that it could have
17         been.         Obviously I'm looking for facts so I want to
18         make sure we're not couching that in a way that
19         makes it not definitive.               So, one of the topics that
20         you were prepared to testify about is location of
21         facilities where trainings take place, correct?
22                  A.       Yes.
23                  Q.       Can you testify definitively of other
24         locations in addition to the 20th Street Manhattan,
25         the Rodman's Neck in The Bronx, Avenue X in

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1                                      H. Perkins
2          Brooklyn, 300 Gold Street in Brooklyn, the precincts
3          and One PP where the trainings took place between
4          2004 and 2012?
5                   A.   The Brooklyn Army Terminal, Floyd Bennett
6          Field, Livingston Street and that's the particular
7          locations that I can remember.
8                   Q.   I want to understand the different types
9          of trainings that took place.             So, were these
10         trainings -- withdrawn.
11                       So, were there classroom lecture
12         trainings given?
13                  A.   Yes.
14                  Q.   Were there classroom role play or
15         simulation trainings given?
16                  A.   Yes.
17                  Q.   Was there a field training given?
18                  A.   Yes.
19                  Q.   Was there a specific name that field
20         training had?        I'm trying to get at, I know MOBEX or
21         mobile exercises, I believe, those are disorder
22         control trainings.        So I don't know if the academy
23         calls them the same thing or if there's a different
24         word or if they merge and do them with DCU at times?
25                  A.   Okay.     At this time the field training is

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1                                     H. Perkins
2          a different type of training.            That's a different
3          title of training.        That's why I need the
4          clarification.       As far as the names of trainings, I
5          don't know them specifically, all of them.
6                   Q.   But field training would be a name that
7          would be used by the academy?
8                   A.   Correct.
9                   Q.   Table top exercises, would that be a name
10         used by the academy for training?
11                  A.   Yes.
12                  Q.   Advanced command training, would that be
13         a name used?
14                  A.   Yes.
15                  Q.   InTac training, would that be a name used
16         by academy training?
17                  A.   At the time in question, yes.
18                  Q.   Did that change?
19                  A.   Yes.
20                  Q.   When did that change?
21                  A.   In 2015.
22                  Q.   And what did InTac training become?
23                  A.   It became more specific training.            There
24         were different titles of the trainings.              Instead of
25         putting it under one umbrella of InTac training, it

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1                                     H. Perkins
2          was given specific titles for the training.
3                        So, today we have fair and impartial
4          policing which would be considered that.              We also
5          did the fundamentals of policing in 2015 which the
6          third day was a tactical component so that would
7          have been a considered a tactical training.               There
8          are -- there is inservice tactical training that is
9          conducted at the range at this time.
10                       But the title of InTac used to be an
11         umbrella term and now we talk about the individual
12         courses that are offered.
13                  Q.   Did the umbrella term solely relate to
14         tactical training?
15                  A.   Not solely, but doctor was a tactical
16         component to the training.
17                  Q.   So InTac could have tactical training and
18         something else or would it be tactical training or
19         something else?
20                  A.   And.
21                  Q.   So it would always have some tactics and
22         possibly something else attached to it?
23                  A.   Yes, because you can't teach tactics
24         absent of procedure in the law.
25                  Q.   So, would InTac training include

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1                                      H. Perkins
2          classroom training?
3                   A.    Yes.
4                   Q.    So, you identified multiple locations
5          where training took place.           How many of those
6          locations had classroom training?
7                   A.    Classroom training available?
8                   Q.    How many of the trainings that you've
9          identified that took place at these various
10         locations included classroom lecture-type training?
11                  A.    The precincts wouldn't have had classroom
12         in them.      Although they would have not been a
13         tactical training, it would have been a different
14         kind of training.        But the training locations that
15         were mentioned would have had classroom training in
16         them.
17                        I also would like to add that Coney
18         Island, the rail yard at Coney Island, there's also
19         training there.
20                  Q.    Is that where the -- it's an MTA yard?
21                  A.    It's an MTA yard, correct.
22                  Q.    We've gone through a few different names
23         for the types of training that's done.              Now we're
24         focused on 2004 to 2012.           Did the academy
25         participate in or conduct other types of training

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1                                     H. Perkins
2          that I haven't yet mentioned?
3                   A.   The training sergeants go to the academy
4          once a month and receive a packet of training that
5          they are then to go out to their commands and
6          deliver to the patrol personnel of their commands.
7                   Q.   And those training --
8                   A.   The personnel of their commands.
9                   Q.   And those trainings that the training
10         sergeants bring back are given at roll call?
11                  A.   Correct.
12                  Q.   Other than the sergeant training that you
13         just described -- which I believe is training
14         sergeants, correct?
15                  A.   Mm-hmm.
16                  Q.   -- is there any other type of training I
17         haven't yet identified that existed with the academy
18         from 2004 to 2012?
19                  A.   No.
20                  Q.   I want to identify some lesson plans and
21         then ask you if these were all of the lesson plans
22         that existed in that time frame.
23                       Is that acceptable?
24                  A.   All of the lesson plans that existed with
25         regard to what?

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1                                           H. Perkins
2                   Q.      With regard to academy training.
3                   A.      I don't know that I can -- there's a lot
4          of lesson plans with regard to academy training.
5          With regard to academy training on what subjects?
6                   Q.      I'm trying to be all inclusive at this
7          point.        Obviously it sounds like I'm not going to be
8          complete and you're going to possibly add in some
9          and see where we're at.
10                  A.      Okay.
11                  Q.      So, the ones that I know of are custodial
12         offenses, maintaining public order, arrest
13         processing, summons, intro to law and justice,
14         authority to arrest, demonstrations.
15                          Are there more lesson plans that I'm
16         unaware of?
17                  A.      Yes.
18                  Q.      Which ones can you identify?
19                  A.      Can I look at the list so I not repeat
20         what you have?           Okay.     So introduction to the Penal
21         Law, introduction to the NYPD, general rules and
22         regulations, discretion, integrity, integrity
23         crimes, policing professional -- policing
24         professionally, policing in a multicultural society,
25         crimes against persons, sex offenses, property

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1                                      H. Perkins
2          crimes, weapons offenses, drug offenses, street
3          encounters, search and seizure, processing property,
4          auto crimes, auto procedures, police communications,
5          crisis intervention, policing emotionally disturbed
6          persons, domestic violence, children and
7          adolescents, crisis management.                 Did I say that
8          already?
9                   Q.      I think you did.
10                  A.      There are also lesson plans for domestic
11         violence workshop.        There are also lesson plans for
12         street encounters workshop.            There were also lesson
13         plans for operation of patrol vehicles, so
14         everything that happens to teach the recruits how to
15         drive.        There are also lesson plans for how to teach
16         the recruits how to operate the firearms and use
17         their firearms.        There are also lesson plans for
18         teaching nonmembers of service or teaching various
19         aspects of this to school safety agents, to civilian
20         promotees, to cadets who are civilian members of
21         service, to traffic agents that are civilian members
22         of service, to -- there are lesson plans for various
23         tactical inservice training programs.
24                          There are lesson plans -- I didn't even
25         mention any of the recruit lesson plans that have to

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1                                       H. Perkins
2          do with teaching of any of our physical training and
3          tactics training and tactics from their part of the
4          unit.         That all falls under the academy.         I know
5          that I've missed some but that's --
6                   Q.       You've done fantastic.         Now I want to
7          focus on the lesson plans that involve First
8          Amendment rights.         When I'm talking about First
9          Amendment rights, I'm going to restrict it to
10         protester rights and, more specifically, to sidewalk
11         protests and marches and demonstrations.
12                           So with that understanding, where do you
13         believe the academy has lesson plans that touch on
14         those topics?
15                  A.       Introduction to law and justice,
16         introduction to Penal Law, maintaining public order,
17         authority to arrest, summonses.
18                  Q.       That's my handwritten notes.         It says
19         demonstrations.
20                  A.       With regard to the academy lesson plans,
21         it would be included in there.              It would also be --
22         I think I named them all.            There were also lesson
23         plans for the teaching to the training sergeants on
24         those topics.         There were training memos for that.
25         That would have been disseminated to the training

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1                                          H. Perkins
2          sergeants.         As far as the lesson plans, that's what
3          I can recall right now.
4                            MR. STECKLOW:        Let's mark some -- let's
5                   mark this as 4.
6                            (Plaintiffs' Exhibit 4, lesson plan,
7              2004-12, marked for identification.)
8                            MR. STECKLOW:        Let's mark this as 5.   I'm
9                   sorry.     That's wrong.
10                  Q.       You're now looking at what's been marked
11         as Plaintiffs' Exhibit 4?
12                  A.       Yes.
13                  Q.       Have you seen this before?
14                  A.       Yes.
15                  Q.       Is this the lesson plan that was in place
16         between 2004 and 2012 for demonstrations?
17                  A.       No.
18                  Q.       At what point was this replaced?
19                  A.       This was replaced in 2004, I believe.
20                  Q.       What was it replaced by?
21                  A.       This was incorporated into the
22         maintaining public order.
23                  Q.       When was that done?
24                  A.       2004.
25                  Q.       Was that before, during or after the

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1                                     H. Perkins
2          Republican National Convention?
3                   A.   Before.
4                   Q.   Do you have an understanding as to why
5          this document was -- withdrawn.
6                        Do you have an understanding as to why
7          this lesson plan was removed and incorporated into a
8          different lesson plan?
9                   A.   Yes.
10                  Q.   Can you tell us why?
11                  A.   Training was -- the training of recruits
12         was changed.      Prior to that there were three
13         separate disciplines for recruits and they were
14         taught law separate from police procedure separate
15         from the social science aspect.                The decision was
16         made that pedagogically it would be better to
17         combine all of those into a unified curriculum.
18                       So, for example, rather than teaching
19         about the social science and social psychology
20         aspect of, say, domestic violence and then procedure
21         of domestic violence and then the law of domestic
22         which might come at different points in a recruit's
23         academy process because of how the different -- the
24         different things are balanced, the -- they were
25         consolidated together so that in training of

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1                                       H. Perkins
2          recruits, they can have -- it's still the same
3          material but have a much fuller concept of what
4          they're doing and why they're doing it.
5                   Q.      Was the substance changed?
6                   A.      No.
7                   Q.      So, was the lesson plan incorporated into
8          maintaining public order without any substantive
9          changes?
10                  A.      All of the information in here was
11         incorporated in the unified curriculum.
12                  Q.      By the unified curriculum, do you mean
13         lesson plan for maintaining public order or
14         something else?
15                  A.      I believe it went into maintaining public
16         order.        Unless I have the maintaining public order
17         to compare it to side by side, I can't state
18         absolutely.        But the contents of this lesson plan
19         are covered in the -- were covered in the unified
20         curriculum.
21                          So if it wasn't put into the maintaining
22         public order, it could have been put into another
23         portion of the -- of the curriculum.             But all of
24         what is in here -- substantively everything that was
25         in here was put into the unified curriculum.

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1                                     H. Perkins
2                   Q.   The maintaining public order lesson plan,
3          is that for recruits or is that for advanced comm,
4          for inservice training?         What is it utilized for?
5                   A.   Recruits.
6                   Q.   This demonstration plan, is that for
7          recruits or for InTac, inservice or advanced
8          command?
9                   A.   Recruits.
10                  Q.   I'd like you to look at page 3 of the
11         demonstration lesson plan and look at what is 2-B.
12                  A.   Yes.
13                  Q.   Can you read what's underlined and
14         bolded?
15                  A.   Case law protects certain activities
16         under the First Amendment.
17                  Q.   Why was that included in this lesson
18         plan?
19                  A.   Why was the protection included in this
20         lesson plan?
21                  Q.   Why was that -- the words you just read,
22         why was that included in this lesson plan?
23                  A.   To explain to recruit officers that
24         certain activities are protected under the First
25         Amendment.

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1                                      H. Perkins
2                   Q.   Above that under 2-A it lists the
3          protections of the First Amendment, correct?
4                   A.   Yes.
5                   Q.   And this talks about case law, correct?
6                   A.   Yes.
7                   Q.   Why did the NYPD include a topic about
8          how case law affects rights under the First
9          Amendment?
10                  A.   Because we explain to recruit officers
11         how the Constitution governs what they can and
12         cannot do and that if something is -- there's a
13         question of some act of a police officers or the
14         government that is a question of whether it was
15         constitutional, it will go through the courts and
16         that the result of the court's decision is case law
17         and that is binding on us as well as the
18         Constitution.        It's not just our interpretation of
19         the Constitution but also the court's interpretation
20         of the Constitution.
21                  Q.   So, is this to explain to recruit
22         officers that the way the courts interpret the
23         Constitution affects the rights that are protected
24         thereunder?
25                  A.   It's not that it affects the rights, but

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1                                      H. Perkins
2          it affects our -- it restricts or permits our action
3          as police officers based on what the court decides.
4                   Q.    So, how a court decides a case affects
5          how a police officer can police constitutional
6          activity?
7                   A.    Yes.
8                   Q.    Was that incorporated into the
9          maintaining public order lesson plan?
10                  A.    That is in introduction to law and
11         justice.
12                        MR. STECKLOW:       So, what I'd like to do
13                  is -- we only have one copy of each of these so
14                  I'm not going to have a copy in front of me.
15                  Mark this as 5.     These are two lesson plans for
16                  maintaining public order that I believe are the
17                  ones relevant in 2011 to 2012.
18                  Q.    I'd like you to review them and tell me
19         if those the ones in place in that time period.
20                        (Plaintiffs' Exhibit 5, lesson plans
21             for 2011-12, marked for identification.)
22                  Q.    From looking at the front page of these
23         lesson plans, can you identify whether these are the
24         lesson plans in place during "Occupy Wall Street"
25         from September 2011 through the end of 2012?

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1                                       H. Perkins
2                   A.    Yes.
3                   Q.    Thank you.
4                         MR. STECKLOW:        Let's mark this as 6.
5                         (Plaintiffs' Exhibit 6, training
6              course catalogue, marked for
7              identification.)
8                   Q.    I ask you to look at what's been marked
9          as Plaintiffs' Exhibit 6.
10                        MS. ROBINSON:        She's reviewing Exhibit 5.
11                        MR. STECKLOW:        There's no question on
12                  Exhibit 5.
13                  Q.    Sergeant, I have no more questions on
14         that exhibit.         Can you please look at Exhibit 6?
15         Have you seen this document before?
16                  A.    Not this particular one.
17                  Q.    What is it that we're looking at?
18                  A.    It's the training course catalogue.
19                  Q.    And what is it about this one that is
20         distinguished from the ones that you have seen?
21                  A.    Well, this -- the date on this one is
22         September 10th -- I mean, September 2010.               So, I
23         have not seen this particular training course
24         catalogue.
25                  Q.    Do you know if this was the training

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1                                      H. Perkins
2          course catalogue in effect during "Occupy Wall
3          Street" 2011 to the end of 2012?
4                   A.   Yes.
5                   Q.   What is a training course catalogue?
6                   A.   It is a catalogue of all of the active
7          lesson plans that -- all of the active courses that
8          can be taught by the department.
9                   Q.   And where are the relevant training
10         subjects that we've discussed and identified in our
11         deposition notice taught within this document?
12         Where are they identified?
13                  A.   So, under the deputy commissioner of
14         training.
15                  Q.   What page is that?
16                  A.   Page 8.
17                  Q.   Is that VIII?
18                  A.   Yes.
19                  Q.   Okay.
20                  A.   The basic recruit course.
21                  Q.   Yes.
22                  A.   Is where the material is taught to
23         recruits.
24                  Q.   Okay.
25                  A.   As far as the lesson plan, the courses

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1                                         H. Perkins
2          that are offered.           The --
3                   Q.       Is there non-recruit training identified
4          in here --
5                   A.       Yes.
6                   Q.       -- in the relevant training subjects?
7                   A.       I'm looking through to see.       The special
8          operations on page 3.
9                   Q.       On the document you're looking at, can
10         you identify a lesson plan on page 3 that is in the
11         relevant training subject?
12                  A.       So, the course that would be offered that
13         would cover demonstrations and street protest, is
14         that what you're --
15                  Q.       For the relevant training subjects.
16                  A.       All of the relevant training subjects?
17                  Q.       Yes.
18                  A.       Unusual disorder plan control may have
19         that.         I don't have -- I'm --
20                  Q.       Is that a --
21                  A.       I'm not prepared to testify as to what
22         the lesson plans for the special operations because
23         that doesn't fall under the academy.
24                  Q.       So you can't testify that that actually
25         has training in the relevant training subjects,

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1                                     H. Perkins
2          correct?
3                   A.   Correct.
4                   Q.   For the academy training --
5                   A.   Correct.
6                   Q.   And you identified the recruit training.
7                   A.   Correct.
8                   Q.   Now I'm asking you for non-recruit
9          training, which I understand is inservice or
10         advanced command or table top or other types of
11         training, is that identified in this training course
12         catalogue?
13                  A.   Not a course that has that specifically,
14         no.
15                  Q.   And this contains all of the courses that
16         the NYPD was giving as of September 2010, correct?
17                  A.   To differentiate between courses and
18         different types of training.           So, command level
19         training is not considered a course that would have
20         been offered.      Command level training is training
21         that comes up as issues develop and the training is
22         disseminated on a monthly basis.
23                  Q.   Who disseminates the command level
24         training?
25                  A.   Specialized training section.

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1                                     H. Perkins
2                   Q.   Is that in the academy or outside the
3          academy?
4                   A.   That's in the academy.
5                   Q.   So the academy disseminates that
6          information?
7                   A.   Correct.
8                   Q.   And that information is not contained in
9          here?
10                  A.   Because it's not a course.
11                  Q.   But this contains all the training
12         courses given to recruits inservice, advance comm,
13         it doesn't give specialized training that maybe, as
14         you explained, come up in the course of incidents
15         that occur, some new topics that come up, otherwise
16         it does contain everything that taught by the NYPD
17         to all levels and all members of the service?
18                  A.   Yes.
19                  Q.   Other than what you identified which is
20         the recruit training on page 8, there is no other
21         training contained in here that is given in the
22         relevant training subjects, correct?
23                  A.   Not specific to the training subjects,
24         no.
25                  Q.   Does the training course catalogue

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1                                      H. Perkins
2          contain training that is given to command level
3          officers?
4                   A.   Not all of it, no.
5                   Q.   But it does contain training that is
6          given to command level officers?
7                   A.   Yes.
8                   Q.   What classroom training is given by the
9          academy anywhere that is post recruit training?
10                  A.   Command level training, firearms
11         refresher course.
12                  Q.   That's the classroom training?
13                  A.   There are classroom components.
14                  Q.   Okay.
15                  A.   Depending on issues that arise.            There
16         are post recruit driver trainings that are offered.
17         There are -- there is promotional training.               At the
18         time in question there was leadership training.
19                  Q.   Was that distinct from promotional
20         training?
21                  A.   Correct.      That leadership training, lead
22         training, was training provided to supervisors as
23         opposed to training for supervisors to step into
24         their new position.         There were inservice tactical
25         trainings.     There was also specialty tactical

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1                                      H. Perkins
2          trainings.     There were COBRA trainings, which is for
3          chemical, biological and other HAZMAT material
4          trainings.     CPR training, the cardiopulmonary
5          resuscitation.
6                        There's executive level training, which
7          is separate from lead or promotional because it's
8          training that's specific to the executives.               I think
9          that covers it.
10                  Q.   Okay.    Which of those trainings that you
11         just identified contain training in the relevant
12         training subjects?
13                  A.   Command level training and -- that's
14         specific that would be an item that would be in a
15         lesson plan would command level training.
16                  Q.   What lesson plans is that covered in for
17         command level training?
18                  A.   For command level training there was a
19         training memo on disorderly conduct.               There was also
20         training on demonstrations and there was training on
21         legal issues surrounding the RNC.
22                  Q.   Okay.    The training memo and dis con, was
23         that the Jones memo, if you know?               Do you know what
24         I'm talking about?
25                       MR. STECKLOW:        Let's mark this as 7.

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1                                      H. Perkins
2                        (Plaintiffs' Exhibit 7, December
3              2007 training memo, marked for
4              identification.)
5                   A.   Yes.
6                   Q.   So, how is this memo training at the
7          command level?
8                   A.   This memo would have been available and
9          sent out to -- at the time it was released, it would
10         have been sent out to all commands.             So all commands
11         would have had a copy of it.            At the command level
12         training either a member of the specialized training
13         section would have presented it or somebody from the
14         Legal Bureau would have presented it to the group.
15         They would have explained what it is and how to
16         disseminate the information to -- to -- at roll call
17         training.     So, it would be a training trainer
18         situation.
19                  Q.   Okay.    So was this something that was
20         also part of the training for the executive level
21         training?
22                  A.   This would have been as a training memo
23         would have been sent out to all commands.
24                  Q.   In December of 2007?
25                  A.   Correct.

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1                                     H. Perkins
2                   Q.   What about in December of 2008?
3                   A.   The training memo would stand.            So if
4          it's sent out, it stands as a training memo unless
5          it's revoked.
6                   Q.   Is it then incorporated into academy
7          training?
8                   A.   A training memo wouldn't be incorporated
9          into academy training.         If there was a change or
10         some -- something that had come down to change from
11         how we had been training before, that would come
12         down from the Legal Bureau to the curriculum
13         evaluation and they would put that into the recruit
14         level training.
15                  Q.   Earlier we discussed, I believe, through
16         demonstration training that the police trained at
17         that point that case law affects how statutes are
18         interpreted and therefore how police can enforce
19         them, correct?
20                  A.   Yes.
21                  Q.   Is this one example --
22                  A.   Yes.
23                  Q.   -- of how that happens?
24                  A.   Yes.
25                  Q.   But because Legal Bureau did not send

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1                                       H. Perkins
2          something to the curriculum unit, this didn't make
3          it into academy training?
4                   A.    This is how it's taught.          So, I don't --
5          I'm not sure what you're -- what the question is.
6                   Q.    You have various lesson plans that you've
7          identified as related to the relevant training
8          subjects, correct?
9                   A.    Yes.
10                  Q.    This academy memo contains an update to
11         case law affecting how police can enforce disorderly
12         conduct statute, correct?
13                  A.    Yes.
14                  Q.    But this information contained in this
15         memo did not update any of the lesson plans that the
16         NYPD were instructing on at the academy, correct?
17                  A.    As far as updating -- did the People v.
18         Jones get put into the -- as labeled get put into
19         the material; is that what you're asking?
20                  Q.    No.     I'm asking:      Did the information
21         contained in here get updated into the lesson plans?
22                  A.    Yes.
23                  Q.    When?
24                  A.    It would have been -- I have to look to
25         see.      If you can give me a moment to look at the

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1                                         H. Perkins
2          lesson plan that, maintaining public order, because
3          I don't think it's necessarily in that one.
4                   Q.      Sure.
5                   A.      The lesson plan may not have reflected
6          it.      No, the lesson plan doesn't reflect this
7          change.
8                   Q.      So the NYPD did not take the information
9          from this academy memo and put it in -- withdrawn.
10         I'll get a new question there.
11                          The NYPD did not take the information
12         contained in this police academy training memo and
13         update their lesson plans with that information,
14         correct?
15                  A.      Correct.
16                  Q.      I just want to make sure that this was
17         clear.        Are relevant training topics covered in
18         executive level training?
19                          MS. ROBINSON:        Objection.   You can
20                  answer.
21                  A.      Are relative -- I don't have specific
22         knowledge as to if the training topics were covered
23         in executive level training.
24                  Q.      Who conducts executive level training?
25                  A.      The executive level trainer -- executive

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1                                     H. Perkins
2          training.
3                   Q.   Is that part of the academy?
4                   A.   Yes, it is.
5                   Q.   So, does the academy include any of the
6          relevant training subjects when it gives its
7          executive level training?
8                   A.   Not in the lesson plans that I have
9          reviewed for this.
10                  Q.   Does the academy provide -- withdrawn.
11                       During the time frame we're speaking of,
12         2004 to 2012, did the academy provide the leadership
13         training that you discussed before?
14                  A.   Yes.
15                  Q.   Did the leadership training include
16         lesson plans that covered the relevant training
17         topics?
18                  A.   Specific to the relative training topics,
19         no.
20                  Q.   Does the academy provide the advanced
21         command level training?
22                  A.   Yes.
23                  Q.   Did the academy include specific lesson
24         plans on the relevant training subjects in the
25         advanced command level training?

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1                                     H. Perkins
2                   A.   In command level training, yes.
3                   Q.   That is what we discussed already?
4                   A.   Training memo, RNC legal issues and a
5          demonstrations lesson plan.
6                   Q.   So I just want to make sure we're clear.
7          Command level training occurs at the commands,
8          correct, at the precincts?
9                   A.   Command level training is all of the
10         training sergeants and the training sergeants take
11         it out to the commands.
12                  Q.   Is that distinguished from advanced
13         command training or advanced command leadership
14         training?
15                  A.   So, leadership training is different from
16         command level training.
17                       MR. STECKLOW:       Let's mark this as 8.
18                       (Plaintiffs' Exhibit 8, advanced
19             command training, marked for
20             identification.)
21                  A.   So, this is executive level training.
22                  Q.   Is that different than advanced command
23         training?
24                  A.   That's what they're calling it.            It would
25         be what I was referring to as the executive.

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1                                      H. Perkins
2                   Q.    So, was this the course outline that was
3          relevant during September 7, 2012?
4                         MS. ROBINSON:       Do you have a copy for me?
5                         MR. STECKLOW:       I don't.
6                         MS. ROBINSON:       Do you have a Bates-stamp
7                   number?
8                         MR. STECKLOW:       6098 through 6169.
9                   A.    This is the materials but this is not a
10         lesson plan.
11                  Q.    When you say these are the materials,
12         what does that mean?
13                  A.    These would be the materials that would
14         be provided to the executives.
15                  Q.    And then there would be materials in
16         addition to this that would be provided?              Would
17         there be a lesson plan that would occur because of
18         these materials -- withdrawn.
19                        You've testified these are the materials
20         provided to the executive levels during their
21         advanced command training?
22                  A.    Yes.
23                  Q.    And you think there's a lesson plan that
24         matches up to this?
25                  A.    They may have used the materials.

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1                                      H. Perkins
2                         MR. STECKLOW:       This looks to be a
3                   complete copy.     I would not swear to it.
4                   What's the last page there?
5                         MS. ROBINSON:       6134.
6                         MR. STECKLOW:       It's just a few copies of
7                   the same, so you may have three copies of the
8                   same document there.
9                         MS. ROBINSON:       Oh, I see what you're
10                  saying.
11                  A.    So, some of these would have been
12         provided to -- some of the materials are the
13         materials provided.         Some of them are the
14         instructors' copies that they would use to go over.
15                  Q.    There are case studies included here?
16                  A.    Correct.
17                  Q.    And "Occupy Wall Street" is utilized as a
18         participant in the case study?             If I can refer you
19         to page what's marked as 86152, it has a numerical
20         five on it but I don't think that's going to be
21         helpful by itself.        Right before that.        It's this
22         page.
23                  A.    Yes.
24                  Q.    Who chose to include "Occupy Wall Street"
25         in the case studies?

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1                                       H. Perkins
2                   A.       Because this is a draft copy, it doesn't
3          have the name of the person who authorized this.
4          This is a draft copy as well.
5                   Q.       In the case study that utilizes "Occupy
6          Wall Street," it talks about "Occupy Wall Street"
7          having demonstrations in a precinct area, correct?
8                            MS. ROBINSON:     Do you have a Bates-stamp
9                   number for that?
10                           MR. STECKLOW:     I think I said it earlier.
11                  I think it's 6152.
12                           MS. ROBINSON:     Is this still Exhibit 8?
13                           MR. STECKLOW:     It is.
14                           MS. ROBINSON:     So then can you give me
15                  the beginning and ending Bates-stamps?
16                           (Off the record discussion.)
17                           MR. STECKLOW:     6098 through 6169.
18                           MS. ROBINSON:     So how are we getting to
19                  861 --
20                           MR. STECKLOW:     I did not read properly.
21                           MS. ROBINSON:     You're saying 6152?
22                           MR. STECKLOW:     Yeah.
23                           MS. ROBINSON:     Not an 8?
24                           MR. STECKLOW:     Yes.     6152.
25                  A.       So, what's the question?

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1                                     H. Perkins
2                   Q.   It identifies "Occupy Wall Street" as
3          setting up common striations within a precinct area
4          as part of the case study, correct?
5                   A.   Yes.
6                   Q.   And it states that they are doing both
7          legal and illegal demonstrations, correct?
8                   A.   It's not that they are.          It's saying with
9          respect to demonstrations that are legal or
10         demonstrations that are illegal.
11                  Q.   Well, but it's talking about "Occupy Wall
12         Street," is it not?
13                  A.   It's "Occupy Wall Street" that there
14         might be other -- there might be demonstrations or
15         other events that are tied to the name "Occupy Wall
16         Street," that's why it's saying local action tied to
17         the larger -- the larger action that was occurring
18         in the downtown Manhattan area, that there might be
19         stuff that is tied to that.           And talking about --
20         this is a very -- this is a instructor's note to
21         talk about how to address demonstrations both legal
22         and illegal.
23                  Q.   Does it identify how to distinguish
24         between demonstrations that are legal and illegal?
25                  A.   Not on this piece of paper, no.

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1                                     H. Perkins
2                   Q.    Within this lesson plan or this advanced
3          command training, does it identify that, how to
4          identify between legal and illegal demonstrations
5          that it's setting out an example for on that page?
6                   A.    It's not -- I don't see it spelled out,
7          but it also explains that the -- some portions have
8          yet to be established and that it's a work in
9          progress.
10                  Q.    I'd like you to take a look at page 6139,
11         XIV.
12                  A.    I don't have 6139.        I have 6149, 6151,
13         53.
14                        MR. STECKLOW:      During a break, I'll print
15                  out a complete copy for you and another one
16                  we'll mark as a complete copy.
17                  Q.    For now I'll ask you to look at the one I
18         was looking at is 6149.         I ask you to look at XIV.
19                        Is that another case study that utilizes
20         "Occupy Wall Street" as an example?
21                  A.    It's not a case study so much as
22         referencing something that's happening in the 29
23         Precinct.
24                  Q.    Is it fictional or nonfictional?
25                  A.    Nonfictional.

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1                                     H. Perkins
2                   Q.   So, this is a description that somebody
3          is inserting into the advanced command level
4          training of something that's occurring with "Occupy
5          Wall Street"?
6                   A.   Activities involved in the "Occupy Wall
7          Street" movement.
8                   Q.   Can you read out loud the highlighted
9          portion?
10                  A.   Activists involved in the "Occupy Wall
11         Street" movement have begun to build organizations
12         within the confines of the 29 Precinct taking on
13         causes such as police shootings of civilians,
14         perceived police areas in dealing with the public,
15         bias in the department's stop, question and frisk
16         policies and procedures, women's rights issues and
17         other related police issues.           These organizations
18         have gained a foothold and are acquiring membership
19         quickly.
20                  Q.   So, is the reason that's included in here
21         is because those -- withdrawn.
22                       Is the reason that's included in this
23         advanced command leadership training is because that
24         is seen as something that's going to require police
25         action, reaction, intervention or something else?

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1                                     H. Perkins
2                   A.   It's understanding that the activists
3          involved in the "Occupy Wall Street" movement are
4          organizing within the confines of the precinct and
5          that they're organizing not just for what was
6          originally believed to be the "Occupy Wall Street"
7          reasons, which had to do with Wall Street, but that
8          there were additional -- additional causes that
9          activists involved with that movement were
10         addressing as well.
11                  Q.   Is there anything unlawful in the conduct
12         or activity they're describing there?
13                  A.   None whatsoever.
14                  Q.   So, what is the reason that that would be
15         included in advanced command leadership training?
16                  A.   To understand that these entities exist
17         within the command and that they are -- they're
18         organizing and have memberships which means there
19         may be activities that would necessitate police
20         presence.
21                  Q.   Where is the 29?
22                  A.   29 is in upper Manhattan, Manhattan
23         North.
24                  Q.   What makes you believe that what is
25         written here is not a case study?

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1                                     H. Perkins
2                   A.    Well, it is a specific situation that is
3          happening at a specific precinct.              So by that
4          definition of case study, it could be considered a
5          case study.
6                   Q.    But how do you know that it's actually
7          happening or it's not something that somebody is
8          writing to utilize in advanced command training?
9                   A.    Because by specifying a precinct, they're
10         specifying information that has been given to them
11         to include.
12                  Q.    Do you have any independent knowledge
13         that this is actually a truthful depiction of
14         something going on in the 29 Precinct during the
15         time that's identified here rather than a case study
16         that's being created in order to advance the
17         leadership training?
18                  A.    I would have to review the document.
19                  Q.    So, you don't have a knowledge, as we sit
20         here, whether it's truthful or whether it's
21         something that's just been created for training?
22                  A.    Correct.
23                        MS. ROBINSON:      Objection.      She said she
24                  had to read the document.
25                  Q.    And your answer was?

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1                                     H. Perkins
2                   A.    Without reading the document, I can't
3          state that it's truthful or not truthful.
4                   Q.    But you did state earlier that you
5          believed this was nonfiction, correct?
6                   A.    As I read that particular section there,
7          yes.      But I haven't had the opportunity to look at
8          the entire document.
9                   Q.    So, I just ask you to keep this in mind
10         as you're testifying, that you need to testify from
11         your own knowledge on behalf of the City of New York
12         and not to make an assumption like you made in the
13         testimony you gave in this.
14                        MS. ROBINSON:      Objection.
15                  Q.    Why would the activity described therein
16         necessitate a police presence if there's nothing
17         illegal about the activities?
18                  A.    Because the police department is charged
19         with the safety of everybody in a precinct and if
20         there is a large gathering of people, it's incumbent
21         upon us to be aware of that and make sure that the
22         interests of the people gathering are balanced with
23         the interests of the people that would like to go
24         about their business in that area, to make sure that
25         the flow of traffic, both pedestrian and vehicular,

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1                                     H. Perkins
2          is allowed, that there is -- that there isn't --
3          that there isn't something that's going to happen as
4          a problem.
5                   Q.   Where in the facts that you read does it
6          state that there's a large amount of people or any
7          of the other issues you just raised?
8                   A.   It doesn't say that.
9                   Q.   So, is there anything in these facts as
10         you read them that would indicate a requirement of a
11         large police presence or some sort of police
12         response to be prepared for?
13                  A.   Again, I would have to read the whole
14         document.     I'm not sure to what this is referring.
15         And I'm not exactly sure what the question is that
16         you're asking.
17                  Q.   I was asking you to clarify your earlier
18         response because when I asked you what I thought was
19         a simple question, I thought you took a turn to
20         something that was not part of the question
21         whatsoever.     So I was trying to bring you back to
22         the actual question I was asking.              All right.
23                       And the question I was asking was:             This
24         seems to be a case study that somebody created
25         utilizing "Occupy Wall Street" as an example.                This

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1                                      H. Perkins
2          case study is part of executive leadership training
3          given to the higher-ups at the NYPD, correct?
4                   A.    Yes.
5                   Q.    And it seems to try and paint "Occupy
6          Wall Street" in a negative way and I was trying to
7          understand what the purpose of this was, and I don't
8          think we're getting to that area.               So I was asking
9          you to explain why this would be included and I
10         think the answer I got didn't really answer this
11         information that's contained on the page but
12         answered more generally what happens in large
13         demonstrations and protests.
14                        So if you can restrict the knowledge to
15         what's written here, can you let me know, if you
16         have a reason, why this was included in this
17         executive level command training?
18                  A.    I don't know.
19                        MS. ROBINSON:       Objection.      If you need to
20                  read the entire document to answer that
21                  question, you can do that.
22                        MR. STECKLOW:       I'm going to ask --
23                        MS. ROBINSON:       You're not giving her an
24                  opportunity to read the document?
25                        MR. STECKLOW:       I'm going to ask you not

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1                                       H. Perkins
2                   to give speaking objections.              It's something
3                   we've had many conversations about.              You just
4                   gave a very specific speaking objection.               This
5                   is the second time you've done that in this
6                   deposition.    We get along.            I want this to be
7                   collegial, but I'll ask you, if you want to
8                   make an objection, please do but please don't
9                   do it if you're leading the witness.
10                         MS. ROBINSON:       I would like to allow her
11                  to read the entire document.
12                         MR. STECKLOW:       And I'll be happy to
13                  provide it to her during lunch and she can read
14                  it.   We can talk more about it afterwards.
15                         MS. ROBINSON:       She can read it on the
16                  record and on your time.
17                         MR. STECKLOW:       That's not going to
18                  happen.
19                         MS. ROBINSON:       Then the objection stands.
20                  Q.     In which -- now I'd like to relate these
21         questions specifically to the non-recruit training.
22         So we're going to talk about the post recruit
23         training.
24                         Is there a specific word we should use
25         that we're talking about everything that happens to

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1                                      H. Perkins
2          the supervisor-type of training?                Is it command
3          level -- withdrawn.
4                        What terms should we use when we're
5          talking about the supervisor-type training, we're
6          talking about captains?
7                   A.   Executive.
8                   Q.   Executive.      You have lectures concerning
9          First Amendment rights of protest related to
10         policing public assemblies, marches and
11         demonstrations in the executive level training?
12                  A.   I have to review my paperwork.
13                  Q.   What paperwork would you have to review?
14                  A.   I would have to review the lesson plans
15         that cover those topics.
16                  Q.   Earlier today we reviewed the deposition
17         notice and you stated you were prepared to testify
18         on these topics, correct?
19                  A.   Yes.
20                  Q.   Are you no longer prepared to testify on
21         this topic?
22                  A.   I need to refresh my recollections.
23                  Q.   Okay.    I'm going to, unfortunately, have
24         to continue because today is the last day of
25         discovery.     You're here.        I was hoping you were

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1                                       H. Perkins
2          going to be here months ago.             Today is the day you
3          made it.      Such as it is, we don't have many options
4          but to go through it.          So if you don't have the
5          knowledge for this, then you're just going to have
6          to put that on the record.
7                   A.    Okay.
8                   Q.    So I'm going to ask the question again so
9          we can get the answer.
10                        Do you have lectures for the executive
11         level training that involve policing public
12         assemblies, marches or demonstrations?
13                  A.    I don't know.
14                  Q.    Do you have lectures at the executive
15         level training that involve the constitutional right
16         of individuals and/or groups to protests on
17         sidewalks?
18                  A.    I don't know.
19                  Q.    Do you have executive level training --
20         withdrawn.
21                        Can you identify executive level training
22         concerning the arresting protesters engaged in First
23         Amendment speech activity?
24                  A.    I don't know.
25                  Q.    So, if I'm asking if you can identify,

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1                                      H. Perkins
2          now it comes into more of a yes-no question.               That's
3          why I was given a note to change the way I was
4          asking the question.
5                   A.   Okay.
6                   Q.   Can you identify lectures that you have
7          at the executive level training for policing public
8          assemblies, marches or demonstrations?
9                   A.   If you show me something, can I identify
10         if that would have been a lecture?              Is that the
11         question you're asking?
12                  Q.   I'm asking if you, as you sit here, can
13         identify it for us?
14                  A.   I don't know if it exists so I can't
15         identify it.
16                  Q.   Can you identify whether the city has
17         lectures at the executive level training under
18         constitutional right of individuals and/or groups of
19         individuals to protest on sidewalks?
20                  A.   I don't know.
21                  Q.   Can you identify lectures on the First
22         Amendment principles taught at executive level
23         training as they concern policing public assemblies,
24         demonstrations or protests?
25                  A.   Cannot identify.

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1                                     H. Perkins
2                   Q.   Can you identify training given at the
3          executive level for the topic of application of a
4          disorderly conduct statute in the context of the
5          First and Fourth Amendment rights of protesters?
6                   A.   I don't know.
7                   Q.   Can you identify training given at the
8          executive level training on the meaning and proper
9          enforcement of Penal Law 240.20 Subsection 5?
10                  A.   I don't know.
11                  Q.   Can you identify training at the
12         executive level that is provided on the meaning and
13         proper enforcement of Penal Law 240.20 Sub 6?
14                  A.   I don't know.
15                  Q.   Can you identify training given at the
16         executive level on the meaning and proper
17         enforcement of Penal Law 195.05 obstruction of
18         governmental administration of justice?
19                  A.   I don't know.
20                  Q.   One of the relevant training subjects
21         that we were reviewing earlier concerned paragraph
22         69 of the complaint.        Now I'm going to go through
23         the topics that are in that paragraph.
24                       Can you identify training given at the
25         executive level for the standard in disorderly

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1                                     H. Perkins
2          conduct for the mere inconveniencing of pedestrians?
3                   A.    I don't know.
4                   Q.    Can you identify trainings given at the
5          executive level that when a person is engaged in
6          political or expressive speak activity the First
7          Amendment of the Constitution requires that the
8          government, including the police, give fair warning
9          to protesters that they must disperse before
10         arresting them?
11                  A.    I don't know.
12                  Q.    Can you identify training given at the
13         executive level that if a person's conduct does not
14         cause or recklessly threaten to cause a substantial
15         impact on the public at large, such as a breach of
16         the peace, then there is no probable cause for an
17         arrest for disorderly conduct?
18                  A.    I don't know.
19                  Q.    Can you identify any training given at
20         the executive level that a person may only be
21         subject to arrest if there is individualized
22         probable cause to believe that the particular
23         individual committed an offense?
24                        MS. ROBINSON:      Objection.     I'm going to
25                  object to all of these questions as they are

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1                                       H. Perkins
2                   part of the legal positions adopted or
3                   implemented which have already been deleted by
4                   the court.
5                            MR. STECKLOW:     They're not.    They're part
6                   of paragraph 69.
7                            MS. ROBINSON:     They were deleted by the
8                   court.     Those were specifically deleted by
9                   Judge Aaron.     So I'm objecting.
10                           MR. STECKLOW:     Paragraph 69 is not
11                  deleted.
12                           MS. ROBINSON:     No.    The legal principles
13                  were deleted and I'm objecting and directing
14                  you not to answer.
15                           MR. STECKLOW:     Paragraph 69 is part of
16                  the relevant training subject material.           That
17                  was not deleted.
18                           MS. ROBINSON:     I'm objecting and
19                  directing you not to answer is the final word.
20                  Q.       I'm going to go through the rest of them,
21         so your attorney will make an objection and instruct
22         you not to answer and then we can get a ruling from
23         the court.
24                           Can you identify in an executive level
25         training where it teaches that the police may not

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1                                     H. Perkins
2          disperse a protest without having a lawful reason to
3          do so?
4                         MS. ROBINSON:      Objection.     Beyond the
5                   scope according to Judge Aaron's order.
6                   Q.    She's not instructing you not to answer.
7                         MS. ROBINSON:      And I instruct you not to
8                   answer.
9                   Q.    Can you identify executive level training
10         that provides a lesson that a civilian breaks the
11         law by refusing to obey an unlawful order to
12         disperse?
13                        MS. ROBINSON:      Objection to the not to
14                  order on the basis -- not to answer on the
15                  basis of Judge Aaron's order.
16                  Q.    Can you identify an executive level
17         lesson that provides to executives that a civilian
18         cannot be arrested for obstructing -- withdrawn.
19         I'll do it again.
20                        Can you identify an executive level
21         training where there is a lesson that provides a
22         civilian cannot be arrested for obstructing
23         governmental administration for refusing to obey an
24         unlawful order to disperse?
25                        MS. ROBINSON:      Objection.     I'm directing

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1                                     H. Perkins
2                   the witness not to answer, beyond the scope as
3                   per Judge Aaron's order.
4                   Q.    Can you identify at executive level
5          training a lesson that provides it is unlawful to
6          arrest a protester for disorderly conduct unless the
7          protester is creating a clear and present danger of
8          breach of the peace?
9                         MS. ROBINSON:      Objection.     I'm directing
10                  the witness not to answer, beyond the scope as
11                  per Judge Aaron's order.
12                  Q.    Can you identify anywhere in the
13         executive training a lesson that provides where the
14         municipality and/or the police seek to regulate
15         time, place or manner of public protest, a protester
16         must provide an adequate form for their expression?
17                        MS. ROBINSON:      Objection.     Direct the
18                  witness not to answer, beyond the scope as per
19                  Judge Aaron's order.
20                  Q.    Can you explain the training that was
21         given to executive level officers on dispersal
22         orders?
23                  A.    Repeat the question, please.
24                  Q.    Can you identify at the executive level
25         any training that was provided on dispersal orders?

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1                                     H. Perkins
2                        MS. ROBINSON:       You can answer.
3                   A.   I don't know.
4                   Q.   Can you identify any training that was
5          given to the -- withdrawn.
6                        Can you identify any executive level
7          training that provided lessons on alternative forums
8          for protest?
9                   A.   I don't know.
10                  Q.   Can you identify executive level training
11         that was given on time, place and manner
12         restrictions on protest activity?
13                  A.   I don't know.
14                  Q.   Can you identify training that was
15         provided to executive level on the standards of
16         applying disorderly conduct of protests?
17                  A.   I don't know.
18                  Q.   Can you identify training that was
19         provided on lessons concerning impeding pedestrian
20         traffic at protests?
21                  A.   Yes.    Impeding pedestrian would have been
22         the RNC legal issues training, the demonstrations
23         training in 2004.
24                  Q.   Was that training provided any time after
25         2004?

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1                                       H. Perkins
2                   A.    No.
3                   Q.    Was the information that was provided at
4          those trainings incorporated into any lesson plans?
5                   A.    The information that's included in those
6          trainings are in the lesson plans and student
7          materials for all recruits.
8                   Q.    Is it in any training for executive level
9          training?
10                  A.    I don't know.
11                  Q.    Can you identify the executive level
12         training that provides the standards of substantial
13         blockage of sidewalks during protest activity?
14                  A.    I don't know.
15                        MR. STECKLOW:        Let's just take a
16                  two-minute break.
17                        (A recess was taken from 12:10 p.m. to
18                  12:24 p.m.)
19                        MR. STECKLOW:        The time is now 12:24 and
20                  we're back on the record.          We're still at my
21                  office at 217 Centre Street with all the same
22                  players.    Nobody else has entered and nobody
23                  else has left.
24                  Q.    Is InTac training another word for
25         inservice training or is it a smaller component of

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1                                        H. Perkins
2          inservice training?
3                   A.      It's a smaller component of inservice
4          training.
5                   Q.      Is InTac or inservice training for
6          executive level, for nonexecutive level or for all
7          MOS?
8                   A.      InTac training is for nonexecutive.
9                   Q.      When we're talking about executive level,
10         is that captains and above?
11                  A.      Yes.
12                  Q.      Are lieutenants considered executive or
13         are they considered not executive?
14                  A.      Not executive.
15                  Q.      Are white shirt officers only executive
16         level or are lieutenants also white shirt officers
17         even though they're not executive level?
18                  A.      White shirts are not executive level
19         officers.
20                  Q.      So, a captain wouldn't wear a white
21         shirt?
22                  A.      A captain does wear a white shirt.
23         Everybody above the rank of lieutenant wears a white
24         shirt.        For a short period of time in, I think,
25         maybe, 1999 sergeants wore white shirts for maybe

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1                                     H. Perkins
2          two months.     But sergeants now wear blue shirts,
3          dark blue as cops.        Lieutenants wear white shirts.
4          But executives are captains and above.
5                   Q.   Do executives take InTac training?
6                   A.   No.
7                   Q.   And I guess I should say did they take it
8          because, from what I understand, it's no longer a
9          part of the training?
10                  A.   No.
11                  Q.   Did executives take inservice training?
12                  A.   Was there training for executives after
13         promotion?     Is that the question?
14                  Q.   I'm trying to use the term that I thought
15         was applicable, that there's academy training for
16         recruits and then pretty much everything after the
17         academy is deemed inservice training?
18                  A.   Yes.
19                  Q.   Is that accurate?
20                  A.   Yes.
21                  Q.   And we went through earlier today the
22         executive level training, correct?
23                  A.   Yes.
24                  Q.   Is there any other inservice training for
25         executives that exists other than the executive

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1                                          H. Perkins
2          level training?
3                   A.       Executives go to the range for
4          qualification, the firearms qualification twice a
5          year.         The -- there are trainings at Floyd Bennett
6          Field for different kinds of vehicle operations that
7          are -- that are accessible by executives.               There are
8          other trainings that are accessible to executives
9          but that are not specifically offered to them.
10                  Q.       Okay.     If we restrict that to the
11         relevant training subjects, is there any training
12         that exists in the 2004 to 2012 time frame for
13         executive level officers that was not part of the
14         executive level training we discussed earlier?
15                  A.       No.
16                  Q.       One thing, I think we cleaned this up
17         earlier, but my co-counsel does not agree.
18                           The officers that wear the white
19         shirts -- not for that one time in '99 when the
20         sergeants wore it -- are captains and above?
21                  A.       No.     Lieutenants and above wear white
22         shirts.         Captains and above are executives.
23                  Q.       Who has the scrambled eggs on their hats?
24                  A.       There are different types of rank
25         insignia, but the rank insignia that has some sort

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1                                         H. Perkins
2          of stitching on the cap is for executives.
3                   Q.      So, that would be captains and above?
4                   A.      Yes.
5                   Q.      And is there a different term because I
6          was always told they refer to it as scrambled eggs?
7                   A.      Depends on the rank.              It's the rank
8          insignia.        Scrambled eggs is a colloquial term just
9          like calling somebody a white shirt.                    That's not a
10         specific term.           It's a colloquial term.
11                  Q.      Understood.       But all of the executive
12         levels have the same insignia on their caps?                       It's
13         not a distinctive insignia for a captain as opposed
14         to an inspector or a chief?
15                  A.      There are different rank insignias for
16         each rank.        There are subtle changes on the uniform;
17         the width of a braid on their leg, the number of
18         braids on the arm.           There are a number of different
19         subtle differences in rank insignia that wouldn't be
20         obvious to the lay person, but would be able to be
21         identified by personnel.
22                  Q.      So I had asked about the hat and the hat
23         alone.        So I'll repeat the question so I'm just
24         trying to understand that.
25                  A.      Okay.

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1                                     H. Perkins
2                   Q.   Do all executive level officers have the
3          same insignias on their hats as each other or is
4          there distinctions in that?
5                   A.   There's not distinctions in that.
6                   Q.   Thank you.      Do -- withdrawn.
7                        Are there Legal Bureau trainings at the
8          academy?
9                   A.   Are there -- you have to be more
10         specific.
11                  Q.   Do members of the NYPD Legal Bureau ever
12         assist in any trainings at the police academy?
13                  A.   Yes.
14                  Q.   Do members of the NYPD Legal Bureau ever
15         assist in any training with police academy members
16         that are not held at the police academy?
17                  A.   Yes.
18                  Q.   Do these trainings occur within the
19         relevant training subjects?
20                  A.   The ones at the police academy or the
21         ones not at the police academy?
22                  Q.   Let's first take the ones at the police
23         academy.
24                  A.   Do they participate -- have they
25         participated or do they participate?

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1                                         H. Perkins
2                   Q.       In the time of 2004 to 2012 did they
3          participate in trainings that involved the relevant
4          training subjects at the --
5                   A.       Yes.
6                   Q.       -- police academy?
7                            Did they participate in the training of
8          relevant training subjects outside of the police
9          academy?
10                           MS. ROBINSON:       Objection.   Beyond the
11                  scope.     You can answer if you know.
12                  A.       I don't know.
13                  Q.       You testified earlier that there are
14         times that police academy and Legal Bureau trainings
15         occur outside the academy, correct?
16                  A.       Yes.
17                  Q.       In those times, did they relate to the
18         relevant training subjects?
19                  A.       I don't know.
20                  Q.       Can you -- withdrawn.
21                           When the Legal Bureau attorneys did
22         trainings at the academy, was that for all levels of
23         MOS?
24                  A.       The -- you had asked about the Legal
25         Bureau, not about Legal Bureau attorneys.               There are

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1                                      H. Perkins
2          people that work at the Legal Bureau that aren't
3          attorneys.
4                   Q.   Correct.      I'm not concerned if they're
5          training attorneys or not attorneys.              Just that
6          there are Legal Bureau people coming and doing
7          training at the academy.           I'm trying to make sure I
8          ask all sorts of questions to make sure I'm not
9          missing any piece of the puzzle.
10                  A.   Okay.
11                  Q.   And at the end I'm going to ask you if I
12         missed any piece of the puzzle as far as trainings
13         in the relevant training subjects.              Right now I'm
14         asking if the training that was given by Legal
15         Bureau at the academy was for all MOS.
16                  A.   The Legal Bureau trained the police
17         academy personnel that presented training.
18                  Q.   So, did the Legal Bureau ever train MOS
19         other than those who were instructors or people who
20         were to become instructors at the academy?
21                  A.   Not that I know of.
22                  Q.   Did the Legal Bureau ever assist or
23         conduct training at the academy for executive level
24         training?
25                  A.   I don't know.

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1                                      H. Perkins
2                   Q.    Can you identify any executive level
3          training that included the Legal Bureau at the
4          academy in any relevant training subject?
5                   A.    No.
6                   Q.    Can you identify any training that
7          occurred between the academy and the Legal Bureau
8          outside the academy for executive level training on
9          the relevant training subjects?
10                  A.    No.
11                        MR. STECKLOW:       Off the record.
12                        (Discussion held off the record.)
13                        (A recess was taken from 12:35 p.m. to
14                  1:45 p.m.)
15                        MR. STECKLOW:       The time is now 1:46.       We
16                  are back on the record.        We're at my office at
17                  217 Centre Street with the continued deposition
18                  of the City of New York by Sergeant Heather
19                  Perkins.
20                  Q.    Good afternoon, Sergeant.
21                  A.    Good afternoon.
22                  Q.    Does the NYPD use any video in training
23         in the relevant training subjects either at the
24         academy or for recruit training or for executive
25         level training?

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1                                        H. Perkins
2                   A.      Yes.
3                   Q.      For recruit training, what videos are
4          used in the relevant training subjects?
5                   A.      For the time period in question for the
6          relevant training subjects --
7                   Q.      I think that would be Exhibit 2.
8                           (Discussion held off the record.)
9                           MS. ROBINSON:       She's not testifying to
10                  anything outside of the scope of what I gave
11                  her so...
12                          MR. STECKLOW:       I think she's testifying
13                  as to everything that's in here in these
14                  relevant training subjects.
15                          MS. ROBINSON:       G, H and I were -- take a
16                  look.    It's fine.      You can leave them in.
17                  A.      No videos on those topics, no.
18                  Q.      Were there any videos used in training at
19         the executive training level in the relevant
20         training subjects?
21                  A.      Not on those topics, no.
22                  Q.      Are there any videos used in recruit
23         training related to the First Amendment?
24                  A.      No.
25                  Q.      Are there any videos used at the

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1                                        H. Perkins
2          executive level training related to the First
3          Amendment?
4                   A.       No.
5                   Q.       Are you familiar with a lawsuit where the
6          lead plaintiff's name was Sarah Kunstler against the
7          City of New York?
8                   A.       No.
9                   Q.       Arising out of a sidewalk protest in
10         2003?
11                  A.       No.
12                  Q.       Do you know that this was a $2 million
13         settlement in that lawsuit, Kunstler versus the City
14         of New York?
15                  A.       No.
16                           MS. ROBINSON:      Objection.   Outside the
17                  scope.     You can answer.
18                  A.       No.
19                  Q.       Do you know -- withdrawn.
20                           Can you identify whether the NYPD updated
21         its lesson plans due to the allegations of the
22         Kunstler lawsuit regarding the policing of sidewalk
23         protest?
24                           MS. ROBINSON:      Objection.   Outside the
25                  scope.

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1                                        H. Perkins
2                   A.       No.
3                   Q.       Can you identify whether the City of New
4          York updated its lesson plan due to the allegations
5          of the Kunstler lawsuit regarding the determination
6          of substantial blockage of a sidewalk?
7                   A.       No.
8                   Q.       Can you identify whether the City of New
9          York updated any lesson plan due to the allegations
10         in the Kunstler lawsuit regarding the analysis of
11         whether a pedestrian was impeded or merely
12         inconvenienced?
13                           MS. ROBINSON:      Objection.   Outside the
14                  scope.     You can answer.
15                  A.       No.
16                  Q.       Can you identify if the City of New York
17         updated any lesson plan due to the allegation of the
18         Kunstler lawsuit regarding -- withdrawn.
19                           Did the policing that was complained
20         about in the Kunstler lawsuit comport with the
21         proper training at the NYPD?
22                           MS. ROBINSON:      Objection.   Outside the
23                  scope.     You can answer.
24                  A.       I don't know.
25                  Q.       Did the City of New York update its --

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1                                       H. Perkins
2          withdrawn.
3                            Can you identify any lesson plan that was
4          updated due to the settlement reached in the
5          Kunstler lawsuit regarding the policing of sidewalk
6          protest?
7                            MS. ROBINSON:     Objection.   Outside the
8                   scope.     You can answer.
9                   A.       I don't know.
10                  Q.       Did the City of New York update its
11         lesson plan due to the settlement reached in the
12         Kunstler lawsuit regarding the determination of
13         substantial blockage of a sidewalk?
14                           MS. ROBINSON:     Objection.   Outside the
15                  scope.     You can answer.
16                  A.       I don't know.
17                  Q.       Did the City of New York update its
18         lesson plan due to the settlement reached in the
19         Kunstler lawsuit regarding the analysis of whether a
20         pedestrian was impeded or merely inconvenienced
21         during a sidewalk protest?
22                           MS. ROBINSON:     Objection.   Outside the
23                  scope.     You can answer.
24                  A.       I don't know.
25                  Q.       Can you identify whether the policing

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1                                       H. Perkins
2          that was complained about in the Kunstler lawsuit
3          comported with proper training given at the recruit
4          level at the academy?
5                            MS. ROBINSON:     Objection.   Outside the
6                   scope.
7                   A.       I don't know.
8                   Q.       Can you identify if the policing that was
9          complained about in the Kunstler lawsuit comported
10         with proper training given after the recruit
11         training?
12                           MS. ROBINSON:     Same objection.
13                  A.       I don't know.
14                  Q.       Can you identify whether the City of New
15         York utilized the policing that was sued upon in the
16         Kunstler litigation to update any curriculum, lesson
17         or class?
18                           MS. ROBINSON:     Same objection.
19                  A.       I don't know.
20                  Q.       Can you identify whether the City of New
21         York examined the allegation of the Kunstler lawsuit
22         regarding the policing of sidewalk protest and
23         updated the training in the curriculum, lessons or
24         classes?
25                           MS. ROBINSON:     Same objection.

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1                                     H. Perkins
2                   A.   I don't know.
3                   Q.   Can you identify whether the City of New
4          York examined the allegations of the Kunstler
5          lawsuit regarding the policing of sidewalk protest
6          and updated the training in the curriculum, lesson
7          or classes regarding the policing of sidewalk
8          protest without substantial impedence or blockage of
9          pedestrian traffic?
10                       MS. ROBINSON:       Same objection.
11                  A.   I don't know.
12                  Q.   Are you familiar with the various
13         lawsuits arising out of the arrest of protesters at
14         the Republican National Convention in 2004?
15                       MS. ROBINSON:       You can answer.
16                  A.   Are you asking am I familiar with the
17         lawsuits themselves or familiar with the fact that
18         there were lawsuits?
19                  Q.   The latter.
20                  A.   I'm familiar with the fact that there
21         were lawsuits, yes.
22                  Q.   Are you familiar with the fact that the
23         City of New York tendered an $18 million settlement
24         on these various lawsuits?
25                       MS. ROBINSON:       Objection.     Outside the

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1                                       H. Perkins
2                   scope.     I'm directing you not to answer.
3                   Q.       Can you identify whether the City of New
4          York updated its lesson plan due to the allegations
5          underlying the various lawsuits from the arrests at
6          the Republican National Convention in New York City
7          in 2004?
8                            MS. ROBINSON:     Objection.   Same
9                   objection.     You can answer.
10                  A.       I don't know.
11                  Q.       Can you identify whether the City of New
12         York updated any lesson plan due to the allegations
13         underlying the Republican National Convention
14         lawsuits regarding the policing of sidewalk
15         protests?
16                           MS. ROBINSON:     Same objection.
17                  A.       I don't know.
18                  Q.       Did the City of New York update its
19         lesson plan due to the allegations underlying the
20         Republican National Conventional allegations
21         regarding the determination of substantial blockage
22         of a sidewalk?
23                           MS. ROBINSON:     Same objection.     You can
24                  answer.
25                  A.       I don't know.

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1                                     H. Perkins
2                   Q.   Did the City of New York update --
3          withdrawn.
4                        Can you identify whether the City of New
5          York updated its lesson plan due to the allegations
6          underlying the Republican National Convention
7          litigations regarding the analysis of whether a
8          pedestrian was impeded or merely inconvenienced
9          during the sidewalk protest?
10                       MS. ROBINSON:       Same objection.
11                  A.   I don't know.
12                  Q.   Did the policing that was complained
13         about in the RNC litigations comport with proper
14         training given at the academy for recruits?
15                       MS. ROBINSON:       Same objection.
16                  A.   I don't know.
17                  Q.   Did the policing that was complained
18         about in the RNC litigations comport with proper
19         training given at the executive level?
20                       MS. ROBINSON:       Same objection.
21                  A.   I don't know.
22                  Q.   Did the City of New York update its
23         lesson plan due to the settlement reached in the
24         Republican National Convention litigation regarding
25         sidewalk protests?

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1                                       H. Perkins
2                            MS. ROBINSON:     Objection.   Outside the
3                   scope.     I'm directing her not to answer.
4                            MR. STECKLOW:     Off the record.
5                            (Discussion held off the record.)
6                            MR. STECKLOW:     We're back on the record.
7                   We've just had an off the record conversation
8                   discussing the scope of the testimony today and
9                   I believe Ms. Robinson is going to make a
10                  statement for the record.
11                           MS. ROBINSON:     With respect to cases that
12                  are listed in Plaintiffs' Exhibit D-2 to the
13                  30(b)(6) deposition notice, it is defendant's
14                  position that -- defendant's position that it
15                  has already provided a 30(b)(6) witness who has
16                  testified that the NYPD did not change its
17                  policies and practices with respect to filed
18                  lawsuits and settled litigation.
19                           So, I've directed this witness, Sgt.
20                  Perkins, not to answer questions with respect
21                  to NYPD's policies and practices with respect
22                  to settled litigation and filed lawsuits.
23                           MR. STECKLOW:     With regard to updating
24                  any training because the city's position is it
25                  does not update training based on settled

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1                                     H. Perkins
2                   lawsuits or filed lawsuits, correct?
3                         MS. ROBINSON:      Correct.
4                         MR. STECKLOW:      Okay.        I'm going to mark,
5                   just so we can be clear, D-2, just so we have
6                   that in this deposition as an exhibit and we
7                   can move on.
8                         Let's mark this as 9.
9                         (Plaintiffs' Exhibit 9, D-2, marked
10             for identification.)
11                        MR. STECKLOW:      We've just marked as
12                  Exhibit 9 the aforementioned D-2 that Ms.
13                  Robinson has identified in her statement.
14                  Correct?
15                        MS. ROBINSON:      Correct.
16                  Q.    Are you familiar with the August 31st,
17         2004 Fulton Street sidewalk protest?
18                  A.    No.
19                  Q.    Are you familiar with the summary
20         judgment decision issued by Judge Richard Sullivan
21         in favor of the protesters' claim that the arrests
22         violated their constitutional rights of public
23         protest?
24                  A.    No.
25                  Q.    Are you familiar with the fact that some

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1                                      H. Perkins
2          of these plaintiffs went to trial and were awarded
3          punitive damages against a supervising member of the
4          NYPD?
5                          MS. ROBINSON:      Objection.        It's outside
6                   the scope.   It's the same issue with Exhibit
7                   D-2.   I'm directing her not to answer.
8                          MR. STECKLOW:      You had said for D-2.
9                   This is why I skipped another one and came to
10                  this one specifically that is filed --
11                         MS. ROBINSON:      This case is not in here.
12                         MR. STECKLOW:      It is there.        But what you
13                  said was the City of New York and the NYPD does
14                  not update its training based on filed lawsuits
15                  or settled lawsuits.       Now I'm asking about a
16                  summary judgment decision by a federal judge.
17                  So, it's a distinct area.         If it's the same
18                  answer, please put it on the record and I'll
19                  move on.
20                         MS. ROBINSON:      Okay.        I'll allow it.
21                  Q.     Are you familiar with the fact that these
22         plaintiffs sought at trial and were awarded punitive
23         damages against a supervising member of the NYPD?
24                  A.     No.
25                         MS. ROBINSON:      Objection.        You can

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1                                     H. Perkins
2                   answer.
3                   A.    No.
4                   Q.    Did the City of New York update its
5          lesson plans due to the summary judgment decision
6          issued by Judge Richard Sullivan in favor of the
7          protesters falsely arrested on 8/31/04 that found a
8          violation of their constitutional rights?
9                         MS. ROBINSON:      Objection.     You can
10                  answer.
11                  A.    I don't know.
12                  Q.    Did the City of New York update any
13         lesson plan regarding sidewalk protests due to the
14         summary judgment decision issued by Richard Sullivan
15         in favor of the protesters falsely arrested on
16         8/31/04?
17                        MS. ROBINSON:      Objection.     You can
18                  answer.
19                  A.    I don't know.
20                  Q.    Did the City of New York update any
21         lesson plan regarding the determination of
22         substantial blockage of a sidewalk due to the
23         summary judgment decision issued by Richard
24         Sullivan -- withdrawn -- by Judge Richard
25         Sullivan -- I'll start over.

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1                                      H. Perkins
2                         Did the City of New York update its
3          lesson plan regarding a determination of substantial
4          blockage of a sidewalk due to the summary judgment
5          decision issued by Judge Richard Sullivan in favor
6          the protesters falsely arrested on 8/31/04?
7                         MS. ROBINSON:       Same objection.      You can
8                   answer.
9                   A.    I don't know.
10                        MR. STECKLOW:       Can you put the actual
11                  objection on, though, because I think at this
12                  point I'm confused what the same objection is
13                  for this one.
14                        MS. ROBINSON:       Objection.    It's outside
15                  the scope.   You can answer.
16                  A.    I don't know.
17                  Q.    Thank you.
18                        Did the City of New York update its
19         lesson plan regarding the analysis of whether a
20         pedestrian was impeded or merely inconvenienced due
21         to the summary judgment decision issued by Judge
22         Richard Sullivan in favor of the protesters falsely
23         arrested on 8/31/04?
24                        MS. ROBINSON:       Objection.    You can
25                  answer.

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1                                       H. Perkins
2                   A.       I don't know.
3                   Q.       Did the policing and arrest of the
4          8/31/04 Fulton protesters that was ruled to be
5          unconstitutional by Judge Richard Sullivan comport
6          with proper training given after the recruit level
7          for policing sidewalk protest?
8                            MS. ROBINSON:     You can answer.
9                   A.       I don't know.
10                  Q.       Did the City of New York utilize the
11         policing that led to the false arrests on 8/31/04 to
12         update curriculum lessons or classes?
13                  A.       Repeat the question, please.
14                  Q.       Did the City of New York utilize the
15         policing that led to false arrests on 8/31/04 at
16         Fulton Street to update curriculum, lessons or
17         classes?
18                  A.       I don't know.
19                  Q.       Did the City of New York examine the
20         decision issued by Judge Sullivan regarding the
21         8/31/04 Fulton Street arrest to update the training
22         in the curriculum, lesson or classes regarding the
23         policing of sidewalk protest?
24                           MS. ROBINSON:     Objection.   Outside the
25                  scope.     You can answer.

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1                                        H. Perkins
2                    A.    I don't know.
3                    Q.    Earlier you testified that among the
4           videos you watched was a Bronx video, correct?
5                    A.    That's correct.
6                    Q.    I'm going to show you a few snippets of a
7           Bronx video and see if it's the same one you watched
8           and then we can ask some questions about it.
9                    A.    Okay.
10                         MR. STECKLOW:        We're about to watch a
11                   video that I'm going to identify with the name
12                   of "Occupy the Bronx street visuals, blog
13                   videographer, dated 12/3/2011."
14                         (Video played.)
15                   Q.    If at any time you're watching it you can
16          identify it is the video you saw --
17                   A.    That is the video.
18                   Q.    Are you familiar with this video?
19                   A.    Yes.
20                   Q.    When was the last time you watched it?
21                   A.    In August.
22                   Q.    It's still familiar to you?
23                   A.    Yes.
24                   Q.    Did the policing of the sidewalk protest
25          that you could see in this video comport with the

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1                                          H. Perkins
2           training given at the academy for recruits?
3                    A.      I can't say if it does or does not
4           because I don't see the entirety -- the entirety of
5           the episode is not caught on video.
6                    Q.      I'm asking about what you can see in the
7           video, so I'll ask the question again.              But try to
8           keep your answer framed on that.
9                    A.      Okay.
10                   Q.      This is approximately a 10- to 12-minute
11          video.        In the beginning there's no arrest and about
12          five or six minutes into the video there's the first
13          arrest.
14                   A.      Mm-hmm.
15                   Q.      So, I'm asking:        In that time frame did
16          the policing of the sidewalk protest comport with
17          the training given at the academy for recruits?
18                   A.      Up to the time of the arrests,
19          including -- the -- there was nothing to indicate
20          that they were not policing according to their
21          training, but without the information as to what led
22          for the police officers to be there, I can't make
23          any definitive statement as to whether or not it was
24          or was not.
25                   Q.      When you say led the police to be at the

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1                                      H. Perkins
2           location --
3                    A.   Correct.
4                    Q.   -- or led the police to make the arrests?
5                    A.   Led the police to be at the location and
6           then make the decision to arrest.              I don't know what
7           happened before so I can't -- I don't have all of
8           the information.
9                    Q.   I'm going to ask the same question now
10          for the executive level.          I'm sure you'll have a
11          similar answer.
12                        Did the policing of this sidewalk protest
13          comport with the training given to executive level
14          officers?
15                   A.   There's nothing in the video that does
16          not comport.     I can't speak definitively on whether
17          it does because I don't know what happened before
18          the time the video started.
19                   Q.   You saw within the video multiple arrests
20          occurred, correct?
21                   A.   Correct.
22                   Q.   Did those arrests comport with the
23          training given for executive level officers
24          regarding disorderly conduct?
25                   A.   I don't know what led up to -- what

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1                                        H. Perkins
2           happened before the start of the video, so I can't
3           say definitively if it did or it didn't.               From what
4           was observed, the behavior, the actions of the
5           police officers were not outside of what they were
6           taught based on what was observed.               However, not
7           knowing what happened before the video started, I
8           can't speak definitively as to the full incident.
9                    Q.       From the video you could see --
10                   A.       Mm-hmm.
11                   Q.       -- did the arrests of these individuals
12          comport with the training given to executive level
13          officers on disorderly conduct?
14                   A.       I don't know.     I can't speak from -- I
15          can't say because the video is not the full
16          incident.
17                   Q.       From what you can see in the video, did
18          you believe that the arrests comported with the
19          training given to executive level officers of the
20          NYPD?
21                            MS. ROBINSON:     Objection.     You can answer
22                   again.
23                   A.       The -- there is nothing in the videos
24          that do not comfort, but because I don't know the
25          circumstances that led to the arrest, the total

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1                                      H. Perkins
2           circumstances that led to the arrest, I can't say if
3           it did or did not.
4                    Q.     When the video first began, was anybody
5           under arrest?
6                    A.     Not that I could see in the video.
7                    Q.     When the video first began, was there any
8           conduct that you could see in the beginning of the
9           video that would lead you to believe that somebody
10          was committing disorderly conduct?
11                   A.     I don't know what was happening prior,
12          what those individuals were doing prior to the time
13          the video started, so I can't say if what they were
14          doing, if it was an ongoing incident.              I don't know
15          what the beginning of the incident is, so I can't
16          say if it was -- I can't speak to that.
17                   Q.     I'm not asking you to speak to anything
18          before.       We already established that when the video
19          starts, nobody is under arrest, correct?
20                   A.     But it starts in the middle of the
21          incident.
22                   Q.     That's your testimony.         That's not
23          necessarily a fact.        When the video starts, there's
24          nobody under arrest, correct?
25                   A.     Correct.

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1                                        H. Perkins
2                    Q.    And we watched at least five minutes of
3           interaction between protester and police and don't
4           see any arrest, correct?
5                    A.    Correct.
6                    Q.    Do we see any conduct in that time frame
7           that would give you an understanding of why somebody
8           would be arrested for disorderly conduct?
9                          MS. ROBINSON:        Objection.   You can
10                   answer.
11                   A.    I don't know why the police were
12          addressing those individuals to begin with, so I
13          don't know what conduct they had engaged in prior to
14          the video.         So if the conduct they had engaged in
15          prior to the video was somehow connected with what
16          we see on the video, I don't know.
17                   Q.    What do you see on the video that could
18          be connected to something prior that would give
19          these officers reason to arrest those people for
20          disorderly conduct?
21                         MS. ROBINSON:        Objection.
22                   A.    Are you asking me to speculate?
23                   Q.    You're testifying that you can see for
24          five minutes conduct.          You can see protester
25          conduct, you can see police conduct.

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1                                        H. Perkins
2                    A.     Yes.
3                    Q.     And then you're saying but I don't know
4           if by watching this there's probable cause to make
5           an arrest for disorderly conduct because I have no
6           idea what interactions happened before.
7                    A.     Correct.
8                    Q.     So I'm asking you what interactions could
9           have occurred before this video began that would
10          allow for probable cause five minutes into the video
11          for blocking the sidewalk?
12                   A.     So you're asking me to guess what
13          happened before?
14                   Q.     Do you know?
15                   A.     I don't know.
16                   Q.     So I'm actually asking you not to guess.
17          I'm asking you to answer based on what you can see.
18          But you're not answering based on what you can see.
19          You continuously tell me you can't answer based on
20          what you can see because of what might have happened
21          before.       I don't want you to guess.         I want you to
22          base on what you can see in the video.
23                          And I'm asking you specifically:          From
24          what you can see in the video for the five minutes
25          or so before somebody is arrested, do you see

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1                                         H. Perkins
2           conduct that gives rise to a disorderly conduct
3           violation?
4                           MS. ROBINSON:        Objection.   You can
5                    answer.
6                    A.     If that conduct is somehow connected to
7           conduct prior to the video starting, then there
8           could be probable cause.
9                    Q.     Okay.    So which conduct could you see in
10          the video that could have been connected to
11          something prior that gives rise to probable cause
12          for disorderly conduct violation?
13                   A.     What I saw in the video, I saw people
14          with tables and chairs.
15                   Q.     Were they carrying them?
16                   A.     The tables were on a -- some sort of a
17          dolly or a truck and the chairs were stacked and
18          somebody was holding them.
19                   Q.     Okay.    Let's watch the video and I'd like
20          you to identify the dolly or truck or tables.                My
21          understanding is in the video they're pushed up
22          against the fence.          They're not displayed.      They're
23          not up.       They're actually folded up and out of the
24          way?
25                   A.     Yes.

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1                                        H. Perkins
2                    Q.    Is that your testimony as well?
3                    A.    Yes.
4                    Q.    Within the five minutes that you can see
5           before somebody is arrested, what is it that you can
6           see that would give rise to a probable cause
7           violation if those tables aren't out, they're
8           further against the fence, they're not blocking
9           anything, what conduct do you see that could be
10          connected to something before and give rise to a
11          probable cause of disorderly conduct?
12                         MS. ROBINSON:        Objection.   You can
13                   answer.
14                   A.    If they had been out.
15                   Q.    Five minutes before, if they had been
16          out?
17                   A.    If they had been out and blocking the
18          sidewalk, that would have been -- would have --
19          could possibly have led the officers to address that
20          conduct.
21                   Q.    Okay.    And in the five minutes that we
22          see when nobody is arrested, we don't see tables
23          out, do we?
24                   A.    I didn't see tables in the video.
25                   Q.    Is it your testimony that if tables had

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1                                      H. Perkins
2           been out and were no longer out, that could lead to
3           probable cause to arrest for disorderly conduct?
4                    A.   I don't know what the interactions
5           between the officers and the protesters were.                I
6           don't know what the order to disperse was given by
7           the officers.      I don't know the time frame that it
8           took to pack up or the time frame they were given to
9           pack up and disperse.        I don't know if they were
10          told to disperse.
11                        But there are a lot of things that could
12          have happened prior to the video starting that would
13          have -- when we see the video at that point in time,
14          if they hadn't dispersed, there's the -- depending
15          on what the order was given.           I can't say because I
16          didn't see what happened before.
17                   Q.   How did you find this video?
18                   A.   Going through YouTube and searching
19          "Occupy" titles.
20                   Q.   How long did it take you before you found
21          this video?
22                   A.   I was searching at my desk and the other
23          different videos.       About an hour to look at all the
24          different videos that I had been looking at.
25                   Q.   How many total videos did you look at in

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1                                      H. Perkins
2           that hour?
3                    A.    Approximately five.
4                    Q.    This is one of them?
5                    A.    Correct.
6                    Q.    Is this one of the first ones or one of
7           the last ones?
8                    A.    I don't know if it was the first one or
9           the last one or in the middle.
10                   Q.    Was it difficult to find?
11                         MS. ROBINSON:      Objection.     You can
12                   answer.
13                   A.    It was accessible on YouTube.
14                   Q.    Through a basic search?
15                   A.    Correct.
16                   Q.    For "Occupy"?
17                   A.    Mm-hmm.
18                   Q.    And you found it within the hour that you
19          were looking?
20                   A.    Correct.
21                   Q.    Along with other videos?
22                   A.    Correct.
23                   Q.    You could have found it in the first ten
24          minutes, it could have been the last one you found
25          in an hour?

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1                                           H. Perkins
2                             MS. ROBINSON:        Objection.   Calls for
3                    speculation.        You can answer.
4                    A.       It could have been the first one, could
5           have been the last one, could have been in the
6           middle.         Could have been any of them.
7                    Q.       Could have taken you anywhere between
8           five minutes and an hour to find?
9                             MS. ROBINSON:        Objection.   You can
10                   answer.
11                   A.       I wasn't looking for it specifically, so
12          it's not a matter of the time it took me to find it,
13          it's when it came up on the -- when it came up
14          through the searches.
15                   Q.       Okay.    I'm just trying to get the timing
16          down.         That could have been within the first five
17          minutes of reviewing "Occupy" video it could have
18          been within the first hour of reviewing "Occupy"
19          video?
20                            MS. ROBINSON:        Objection.
21                            MR. STECKLOW:        Can you pull up the Koznar
22                   video?     The video we're about to watch, I'm
23                   going to label it as the "Koznar activist
24                   video" found on Gotham 31 -- sorry, on the
25                   Gothamist website dated 2/29/12.

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1                                         H. Perkins
2                             MS. ROBINSON:      Have you produced this
3                    video?
4                             MR. STECKLOW:      It's been produced.         It's
5                    been at prior depositions.               You've already seen
6                    it.
7                             MS. ROBINSON:      I just want to know if
8                    it's on the disk that you gave us.
9                    Q.       We're going to watch this and can you let
10          me know at any point you feel like, yes, I've seen
11          this video?
12                   A.       I don't think I have.
13                            (Video played.)
14                            MR. STECKLOW:      Can you stop it here
15                   please and identify the time?
16                            MR. SHARKEY:     1:25.
17                   Q.       Did you recognize the officer that just
18          pointed and said "take him"?
19                   A.       No.
20                   Q.       Did you see that moment in the video?
21                   A.       No.
22                            MR. STECKLOW:      Let's go back a few
23                   seconds.
24                            (Video played.)
25                   Q.       Did you just see an officer approach and

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1                                      H. Perkins
2           point at somebody and say "take him"?
3                    A.   Yes.
4                    Q.   Can you identify anything in the video
5           that would give you an understanding as to why that
6           happened?
7                    A.   No.
8                         (Video played.)
9                    Q.   Did you just hear the same officer point
10          at somebody else and say "take him"?
11                   A.   No, I did not.
12                        (Video played.)
13                   Q.   Did you just hear the officer point to
14          somebody else and say "take him"?
15                   A.   Yes.
16                   Q.   Did you see anything occur in that moment
17          that would have given rise to probable cause to make
18          an arrest?
19                   A.   I didn't see what happened.
20                   Q.   Was there anything you could see?
21                   A.   Not anything I could see in the video but
22          I couldn't see the incident he was pointing at.
23                        (Video played.)
24                   Q.   Did you hear the officer now say "take
25          him" a third time to yet a different person?

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1                                      H. Perkins
2                    A.   Yes.
3                    Q.   Did you see anything in the interim that
4           would give rise to cause for arrest there?
5                    A.   The video wasn't on the officer or on the
6           person that he was interacting with so I don't know
7           what happened.       It wasn't on the video.
8                    Q.   When you say the person the officer was
9           interacting with, you mean the person that the
10          officer was pointing at?
11                   A.   The person that the officer was pointing
12          at or speaking to, they were not in the video.
13                   Q.   There was no interaction you can see.
14          There may not have been any interaction other than
15          the officer pointing at this individual saying "take
16          him"?
17                   A.   I didn't see the person he was pointing
18          to, so I don't know what prompted the officer to say
19          that.
20                        (Video played.)
21                   Q.   Okay, now that you've seen the individual
22          that they arrested at that moment, can you identify
23          anything that you can see in the video that would
24          give cause for that arrest?
25                   A.   I don't know what he was engaging in

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1                                      H. Perkins
2           prior to that, so I don't know why they -- I can't
3           speak to why they made that decision.
4                    Q.    Is there anything in the video that you
5           can see that would give rise to probable cause for
6           that arrest?
7                          MS. ROBINSON:      Objection.     You can
8                    answer.
9                    A.    There's nothing depicted in the video
10          that I can see that would give rise to that.                I
11          didn't see anything in the video.
12                   Q.    From what you could see in this video,
13          did the policing of this sidewalk comport with the
14          training given at the academy for recruits?
15                   A.    I can't answer that because the video
16          doesn't show everything that happened.             There's
17          nothing in the video that does not comport, but I
18          can't say if it does comport because I didn't see
19          the -- I didn't see the whole episode unfold.
20                   Q.    So like I asked in the earlier questions,
21          I'm asking you to focus on what you can see, not to
22          speculate on what may have happened before.                In what
23          you can see, did these arrests comport with the
24          training again at the academy for recruits?
25                         MS. ROBINSON:      Objection.     You can

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1                                      H. Perkins
2                    answer.
3                    A.    Again, what is depicted on the video does
4           not not comport, does not violate anything that's
5           trained at the academy.         But because the video does
6           not show what the persons who are being arrested are
7           doing, I can't say -- I can't speak to whether it is
8           or is not -- does not comport with academy training.
9                    Q.    So, the officer that was pointing, is
10          that the incident commander?
11                   A.    No.
12                   Q.    Who would the incident commander be?
13                   A.    The incident commander may be at that
14          scene or the incident commander might be at a
15          different location.        I don't know how -- why that
16          protest or demonstration was, I don't know how many
17          blocks it took up.       I don't know how many officers
18          were assigned.       The incident commander could have
19          been there or he could have been someplace else.                 I
20          don't know from the video.
21                   Q.    How do you know that that individual who
22          was pointing out who to arrest was not the incident
23          commander of this incident?
24                   A.    Because he was not the highest ranking
25          individual present.

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1                                      H. Perkins
2                    Q.   Who was the highest ranking individual
3           present?
4                    A.   I don't know.       I would have to review the
5           video and see if I can see who is in the video.                But
6           again, even if they're present, that doesn't mean
7           they're in the video.
8                    Q.   Why is it you're sure that wasn't the
9           highest ranking officer present?
10                   A.   Because there were higher ranking
11          officers present.
12                   Q.   That you could see in the video?
13                   A.   Yes.
14                   Q.   And so, in sidewalk protest, who is
15          supposed to make the decisions about when there's a
16          probable cause to make arrest for disorderly
17          conduct?
18                   A.   Who makes the decision as to when there's
19          probable cause or who makes the decision to arrest
20          on probable cause?
21                   Q.   Is there a distinction between those two?
22                   A.   Yes.
23                   Q.   What's the distinction?
24                   A.   Because one can have probable cause and
25          not necessarily make the decision to make an arrest.

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1                                        H. Perkins
2                    Q.    Okay.     So, let's start with the first
3           one.      Who makes the decision when there's probable
4           cause?
5                          MS. ROBINSON:        Objection.   You can
6                    answer.
7                    A.    The incident commander will make a
8           decision to arrest or a high ranking person
9           designated by the incident commander, depending on
10          the size of the protest, will make a decision or
11          communicate the decision down the chain of command
12          to make a -- to make arrests in a particular
13          situation.         So, they will make the decision.
14                         If they're making the decision to arrest,
15          they've also established that probable cause exists
16          and they will communicate that decision to the
17          officers who will be making the arrest.
18                   Q.    In the video that you could see, the
19          officer is pointing at people and saying "take him."
20                         Was he making decisions to make arrests?
21                   A.    I don't know.
22                   Q.    Did it seem that he was being given
23          orders from elsewhere to make these arrests?
24                         MS. ROBINSON:        Objection.   You can
25                   answer.

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1                                       H. Perkins
2                    A.   I don't know.
3                    Q.   From what you can see in the video?
4                    A.   From what I can see in the video, it
5           doesn't look that he was being given orders, but I
6           don't know if he was given specific orders.
7                    Q.   What certification do you have as an
8           instructor at the police academy?
9                    A.   I am MOI qualified, which is New York
10          State qualification to teach general topics in
11          policing.
12                   Q.   What does MOI stand for?
13                   A.   Methods of instruction.
14                   Q.   Who gave you that certification?
15                   A.   The state.
16                   Q.   What courses did you take in order to
17          receive that qualification?
18                   A.   The methods of instruction course.
19                   Q.   How long is that course?
20                   A.   It's a two plus week course.            It's two
21          weeks and additional days.            I'm not sure, it might
22          be one or two more days.
23                   Q.   Where is it given?
24                   A.   At the police academy.
25                   Q.   Who gives that course?

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1                                      H. Perkins
2                    A.   The police officers -- sergeants and
3           police officers who have been designated as master
4           instructors by the state that can then review,
5           evaluate and grant certification to officers in
6           methods of instruction.
7                    Q.   What division of the New York State
8           issues those certifications?
9                    A.   I don't know.
10                   Q.   How are you sure that it's a New York
11          State certification when it's training given at the
12          New York City Police Academy?
13                   A.   Because they also train members that are
14          not part of the police department and because the
15          certificate is -- on the certificate it mentions the
16          state and I believe there are only two other
17          locations outside of Albany that are authorized to
18          give the methods of instruction course.             I know that
19          it's the state and I don't want to misspeak as to
20          which division of the state gives that -- authorizes
21          that course.
22                   Q.   Is there --
23                   A.   Certifies that course.
24                   Q.   Is there any national certification that
25          the NYPD Training Academy has?

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1                                      H. Perkins
2                    A.   Yes.
3                    Q.   What is that?
4                    A.   CALEA.
5                    Q.   What does that stand for?
6                    A.   I can't remember off the top of my head.
7                    Q.   What are the initials that you believe it
8           is?
9                    A.   I think it's C-A-L-E-A.
10                   Q.   And you believe that's a national
11          certification in police --
12                   A.   Yes.
13                   Q.   -- training?
14                   A.   In police academies.             So, our -- our
15          lesson plans and course materials are reviewed to
16          see if they comport with the national accreditation.
17                   Q.   How often are they reviewed?
18                   A.   I believe it's once every four years.
19          Maybe once every three.
20                   Q.   In the relevant time period of 2004 to
21          2012, how many times was it reviewed by CALEA?
22                   A.   I don't know.
23                   Q.   Can you identify whether it was reviewed
24          by CALEA in the 2004 to 2012 time period?
25                   A.   Yes.

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1                                      H. Perkins
2                    Q.   Can you identify when?
3                    A.   I believe it was 2009, but I can't -- I
4           can't say for certain.
5                    Q.   Do you know when NYPD began receiving its
6           state certification in methods instruction?
7                    A.   I don't know when it began, no.
8                    Q.   Do you know if it was receiving such
9           certification in the time frame of 2004 to 2012?
10                   A.   Yes.
11                   Q.   Do you know what IADLEST stands for?
12                   A.   No.
13                   Q.   Have you ever heard of the International
14          Association of Directors of Law Enforcement
15          Standards and Training?
16                   A.   No.
17                   Q.   How does the NYPD Academy measure whether
18          trainees understand the material they're being
19          trained upon?
20                   A.   There are various methods, demonstration,
21          quizzes, exams.
22                   Q.   In the relevant training subjects, how
23          does NYPD measure training learning or training
24          effectiveness?
25                   A.   Student response with their individual

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1                                        H. Perkins
2           instructor and quizzes and exams.
3                    Q.    What percentage of recruits does not pass
4           the academy training course?
5                          MS. ROBINSON:        Objection.    You can
6                    answer.
7                    A.    I -- it varies each academy training.
8           There isn't a set number.
9                    Q.    From 2004 to 2,012 what percentage of
10          recruits did not satisfy the academy training
11          courses?
12                   A.    I don't have that.          They would not have
13          graduated.         If they don't pass the test, they don't
14          graduate the academy.
15                   Q.    How many cadets are in a recruit class?
16                   A.    It can vary from 100 to 800, 900.
17                   Q.    In --
18                   A.    Or more.
19                   Q.    In 2004 to 2012 what was the largest
20          group that passed through the academy?
21                   A.    I don't know.
22                   Q.    Would 800, more or less, be the larger
23          number?
24                         MS. ROBINSON:        Objection.    You can
25                   answer.

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1                                       H. Perkins
2                    A.   Approximately, yes.
3                    Q.   Do you know out of a group of 800 how
4           many cadets wouldn't pass and graduate the academy?
5                    A.   Again, it depends on each class.            There
6           isn't an average number because it's how many
7           recruits in that particular class.              And the total
8           number of washout wouldn't necessarily reflect
9           passing of an academy quiz or test.              It could be
10          because they didn't meet the physical requirement.
11          It could mean that they didn't meet some other
12          requirement.        It could also mean that they left to
13          pursue a different career.
14                   Q.   Are there statistics or records kept
15          about how many members of a recruit class wash out?
16                   A.   Yes.
17                   Q.   What is that called?
18                   A.   What do you mean what is it called?
19                   Q.   Is there a specific name for those
20          statistics?
21                   A.   No.
22                   Q.   How would you find that if you wanted to
23          learn that?
24                   A.   We would submit a request to recruit
25          operations to find out what -- how many officers had

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1                                      H. Perkins
2           washed out and then specifically asking about each
3           individual officer, why they had left the academy
4           into their training record.
5                    Q.   Does the NYPD Academy update its training
6           based on complaints lodged against NYPD activity at
7           protests?
8                    A.   I don't know.
9                    Q.   Would it be important for the NYPD
10          Academy to know about complaints lodged against
11          policing at protests?
12                   A.   No.
13                   Q.   Does the NYPD give ratings to officers
14          for their acuity at target practice?
15                   A.   Yes.
16                   Q.   How is that rating done?
17                   A.   Out of 50 rounds each is -- each round is
18          assigned two points and for every round they get in
19          the target, they're given two points.
20                   Q.   So, a perfect score would be a hundred?
21                   A.   Correct.
22                   Q.   Are there certifications or levels or
23          pins given to people at the top?
24                   A.   Yes.
25                   Q.   What are those called?

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1                                      H. Perkins
2                    A.   It's a pistol proficiency that they got a
3           hundred percent.
4                    Q.   Is that the only one, a hundred percent?
5                    A.   Correct.
6                    Q.   So, if you miss one, you don't get a pin,
7           you don't get a certificate, you don't get any
8           recognition?
9                    A.   Correct.
10                   Q.   But if you get a hundred percent, you get
11          some type of recognition --
12                   A.   Correct.
13                   Q.   -- or acknowledgment?
14                        Is there any other acknowledgment or
15          recognition for other aspects of the training given
16          at the academy?
17                   A.   Yes.
18                   Q.   What are those?
19                   A.   Top ten percent of the graduating class
20          are given gold braids that they can wear on their
21          dress uniforms at graduation.
22                   Q.   Do they wear it at any other times?
23                   A.   No.
24                   Q.   That's an overall.         Let's get more
25          specific.     You know, reward for recognition given

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1                                      H. Perkins
2           other than the acuity at target practice and the top
3           ten percent of the graduating class?
4                    A.   In the time period, no.
5                    Q.   Has that changed?
6                    A.   For the uniform, while they're going
7           through the academy, yes.          And there are different
8           ways of recognizing that while they're going through
9           the academy.
10                   Q.   What are the different things that people
11          can be recognized for now?
12                   A.   They can be recognized for academic
13          excellence.     They can be recognized for excellence
14          at the range and excellence in the physical training
15          and tactics unit.
16                   Q.   So three separate --
17                   A.   Correct.
18                   Q.   -- components?
19                        I'm sorry.     I didn't say this before, but
20          just let me finish my question.                I know that we're
21          doing well here, so I just want to get a clean
22          record.
23                        That was about the recruits.             Now about
24          the executive officers.         Are there recognitions or
25          acknowledgments to them when they reach a certain

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1                                      H. Perkins
2           acuity at various courses or targets or things like
3           that?
4                    A.   No.
5                    Q.   Does the NYPD give ratings to either
6           recruits or executive officers in their acuity in
7           understanding constitutional policing a sidewalk
8           protest?
9                    A.   No.
10                   Q.   Does the NYPD give ratings to its
11          supervising officers and its executive officers for
12          their acuity in understanding constitutional
13          policing of sidewalk protests?
14                   A.   No.
15                   Q.   Does the NYPD seek to measure
16          effectiveness on an institutional level on its
17          policing of sidewalk protests?
18                   A.   No.
19                   Q.   Does the academy provide any refresher
20          courses to members of the service after they finish
21          recruit training?
22                   A.   Yes.
23                   Q.   Is the refresher course given in any of
24          the relevant training subjects?
25                   A.   No.

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1                                      H. Perkins
2                    Q.   During the time period of June 1st, 2011
3           through September 30th, 2012, was there any specific
4           training given by the academy to either recruits or
5           members of service post recruit training concerning
6           "Occupy Wall Street"?
7                    A.   "Occupy Wall Street" specifically, no.
8                    Q.   During the time period June 30th, 2011 to
9           September 30th, 2012 did the academy provide any
10          training to the recruits or members who were
11          considered post recruit for training concerning
12          public protests?
13                   A.   Not specifically, no.
14                   Q.   During the time period of June 1st, 2011
15          to September 20th, 2012 did the academy give any
16          training to recruits or MOS who had finished the
17          recruit class concerning assemblies in public
18          places?
19                   A.   Yes, recruits.
20                   Q.   Anything post recruit training concerning
21          training concerning public protests and assemblies
22          in public places?
23                   A.   No.
24                   Q.   During the time period of January 31st,
25          2003 to September 2004 were there any trainings

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1                                      H. Perkins
2           concerning protests related to the Republican
3           National Convention?
4                    A.   Yes.
5                    Q.   Was that training given to both recruits
6           and people who were post recruit?
7                    A.   Just post recruit.
8                    Q.   Was that given to executive level
9           training?
10                   A.   It was given to -- it was part of the
11          inservice training that would have been disseminated
12          out to each of the commands.
13                   Q.   So, what level of officer would be
14          receiving that training?
15                   A.   The academy would give it to the training
16          sergeants.     The training sergeants would make sure
17          that that information was disseminated to everybody
18          in the command.
19                   Q.   Was there executive level training given
20          in that same time frame in regards to protests in
21          the Republican National Convention?
22                   A.   From the academy?
23                   Q.   Yes.
24                   A.   I do not know.
25                   Q.   Are you familiar with September 17, 2012

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1                                       H. Perkins
2           as a date of a large-scale protest in New York ski?
3                    A.   Yes.
4                    Q.   That's what we call a one-year
5           anniversary of "Occupy Wall Street"?
6                    A.   Mm-hmm.
7                    Q.   You're going to have to indicate with a
8           word.
9                    A.   Yes.
10                        MR. STECKLOW:        Off the record.
11                        (Discussion held off the record.)
12                   Q.   To the academy trainers and instructors
13          did NYPD policing of sidewalk protests on the
14          one-year anniversary of "Occupy Wall Street"
15          indicate whether policing of sidewalk protest was
16          sufficient to comply with Constitutional limits on
17          police power?
18                   A.   Repeat the question, please.
19                   Q.   Sure.     To academy training instructors,
20          did the NYPD policing of sidewalk protests on the
21          one-year anniversary of "Occupy Wall Street"
22          indicate that policing of the sidewalk protest was
23          sufficient to comply with constitutional limits on
24          police power?
25                   A.   I'm sorry.      I'm still not understanding

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1                                       H. Perkins
2           the question that you're asking.                When you say to
3           academy instructors, what do you mean by "to academy
4           instructors"?
5                    Q.   I'm trying to identify whether the
6           instructors at the academy --
7                    A.   Okay.
8                    Q.   -- believed that the sidewalk protest
9           policing on the one-year anniversary of "Occupy Wall
10          Street" was sufficient to comply with constitutional
11          limits on police power?
12                   A.   Are you asking if the academy instructors
13          thought that the training provided by the academy on
14          those -- on the policing protests was sufficient and
15          comported with the Constitution; is that the
16          question?
17                   Q.   No.     That's not the question.          The
18          question is whether or not did the academy observe
19          any -- withdrawn.
20                        Did the academy instructors observe any
21          of the police sidewalk protests on the one-year
22          anniversary of "Occupy Wall Street"?
23                   A.   I don't know.
24                   Q.   Did the academy instructors learn of any
25          issues, problems or difficulties incurred by the

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1                                          H. Perkins
2           NYPD in policing the sidewalk protest on the one
3           year anniversary of "Occupy Wall Street"?
4                             MS. ROBINSON:     Objection.   You can
5                    answer.
6                    A.       I don't know.
7                    Q.       Did the academy either at the recruit
8           level or executive level make any changes to its
9           training based on the policing of sidewalk protests
10          throughout "Occupy Wall Street" starting in
11          September of 2011?
12                            MS. ROBINSON:     Objection.   Outside the
13                   scope.     I'm going to direct her not to answer.
14                            MR. STECKLOW:     Can you read that back?
15                            (Record read.)
16                            MS. ROBINSON:     I withdraw the objection.
17                   You can answer.
18                   A.       I'm sorry.     Would you please read it
19          back?
20                            (Record read.)
21                   A.       I don't know.
22                   Q.       Earlier you testified that one of the
23          ways that the academy tests the effectiveness of its
24          training and whether recruits learn the material is
25          through testing, correct?

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1                                      H. Perkins
2                    A.   Correct.
3                    Q.   Are there something called quizzes?
4                    A.   Yes.
5                    Q.   How often are those given?
6                    A.   They're given at the completion of each
7           chapter.
8                    Q.   How many chapters are there in the
9           recruit training?
10                   A.   Approximately 40 chapters.
11                   Q.   Are there quizzes given during the
12          executive level training?
13                   A.   I don't know.
14                   Q.   Obviously I'm asking about at the
15          academy --
16                   A.   Mm-hmm.
17                   Q.   -- or during academy training at the
18          executive level?
19                   A.   Mm-hmm.
20                   Q.   With that understanding, are there
21          quizzes given at the executive level training?
22                   A.   I don't know.
23                   Q.   Are there trimester tests at the recruit
24          training?
25                   A.   Yes.

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1                                       H. Perkins
2                    Q.   Is that different than a quiz?
3                    A.   Yes.
4                    Q.   Can you explain the distinction between a
5           quiz and the trimester?
6                    A.   Okay.     Quiz is given immediately upon the
7           completion of the -- or close to the completion of a
8           block of instruction which we call a chapter.                And
9           it's meant to -- it's a ten-question quiz that's
10          addressing the points in that chapter.             And it's a
11          way that recruits can see how their understanding of
12          the material is progressing and it's a way that the
13          instructors can see how well the recruits are
14          getting -- understanding material while they're
15          going along.     Based on their answers on quizzes,
16          they get recommended for tutoring or there can be
17          extra help given if there's a problem of
18          understanding.
19                        The trimester exam is what they're used
20          to rate on as far as being able to move to the next
21          phase of training.        It is a hundred-question exam.
22          It covers everything, every chapter that was in that
23          trimester.     And failure of that trimester exam, they
24          have to -- they're given one additional chance to
25          take the exam.        And if they don't pass it, then they

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1                                       H. Perkins
2           have to detrain.
3                    Q.    Then they wash out?
4                    A.    Correct.
5                    Q.    The fact it's called a trimester, does
6           that mean there are three of these in the recruit
7           training period?
8                    A.    Yes.
9                    Q.    There are three 100-question tests that
10          they must pass in order to graduate?
11                   A.    Correct.
12                   Q.    What does pass mean?
13                   A.    Seventy-five out of a hundred.
14                   Q.    Do they take the test in a classroom
15          setting?      Do they take it online at home?          How do
16          they take these tests?
17                   A.    During the period time covered, it's a
18          paper test they take with a Scantron in a classroom
19          setting proctored by two instructors.
20                   Q.    Is that the trimester or before the quiz
21          or both?
22                   A.    The trimester.
23                   Q.    And how are the quizzes taken?
24                   A.    The quizzes are taken in the classroom
25          with their company under the supervision of the

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1                                      H. Perkins
2           instructor that teaches that block instruction.
3                    Q.   Do the -- withdrawn.
4                         Are the test answers analyzed to
5           understand whether or not those specific topics are
6           properly being taught and therefore properly
7           being learned by the recruits?
8                    A.   Are they analyzed in what way?
9                    Q.   Are they analyzed in a way where you see
10          how many people answered question 37 wrong?               And you
11          say, wow, we got a really big number of people
12          getting 37 wrong, let's figure out why that is?
13                   A.   Yes.
14                   Q.   Is that for all 100 questions?
15                   A.   Yes.
16                   Q.   Do you know how many of these questions
17          relate to the relevant training subjects?
18                   A.   There are different -- there's different
19          amounts of questions for each chapter for each
20          trimester.     It's not the same chapters for each
21          trimester for each academy class.              And it's not the
22          same questions for each area of the training.                New
23          questions are written and introduced and old
24          questions are taken out all the time.              So, there
25          isn't a set number.

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1                                       H. Perkins
2                    Q.    But the quizzes relate to specific
3           chapters, correct?
4                    A.    Correct.
5                    Q.    Are there specific quizzes related to the
6           relevant training subjects?
7                    A.    Yes.
8                    Q.    Are those also analyzed to see whether or
9           not the recruits are all getting one question right
10          or wrong?
11                   A.    No, not in the same way.
12                   Q.    I think we have some of these exams.            So,
13          I want to mark them and ask you to review them and
14          then I also think we have a 400-page statistical
15          analysis and I don't understand it at all and I'm
16          hoping you do.        I only have just one copy because I
17          didn't want to kill more trees.
18                         MS. ROBINSON:       If you can just give me
19                   the Bates numbers.
20                         MR. STECKLOW:       So, we're going to mark
21                   this one as 10.     This one, I believe, is the
22                   trimester exam or exams and it starts on 19789
23                   and finishes on 19836.
24                         (Plaintiffs' Exhibit 10, quizzes,
25              19789-836, marked for identification.)

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1                                          H. Perkins
2                             MR. STECKLOW:       I'm now going to ask you
3                    to look at -- after you're done with that I'm
4                    going to ask you to look at what's being marked
5                    as 11, which starts on 19837 and completes on
6                    20277.
7                             (Plaintiffs' Exhibit 11, statistical
8               report for 2008-09 exams, 19837-20277,
9               marked for identification.)
10                   Q.       Have you had a chance to look at what's
11          been marked as Plaintiffs' Exhibit 10?
12                   A.       Yes.
13                   Q.       What does Plaintiffs' Exhibit 10 contain?
14                   A.       Quizzes.
15                   Q.       Are these quizzes for every chapter or
16          are these quizzes solely related to the chapters
17          relevant to the -- withdrawn.
18                            Or -- I'll withdraw the whole thing.
19          We'll start again.
20                            Does Exhibit 10 represent all quizzes
21          given in a given moment for the different chapters
22          or is it only related to the relevant training
23          subjects?
24                   A.       To the relevant training subjects.
25                   Q.       And can you identify by reviewing it when

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1                                      H. Perkins
2           these were given?
3                    A.   No.
4                         MR. STECKLOW:       Off the record.
5                         (Discussion held off the record.)
6                    Q.   So, you can't identify when these were
7           given, correct?
8                    A.   Correct.
9                    Q.   But each of these are 10-question
10          quizzes, correct?
11                   A.   Correct.
12                   Q.   And they would be related to the relevant
13          training subjects, correct?
14                   A.   The chapters would have relevant training
15          subjects in them, yes.
16                   Q.   But there is no analysis done to
17          understand if any one specific question is answered
18          wrong by everybody, every recruit, correct?
19                   A.   Correct.
20                   Q.   And we can't tell from looking at this
21          whether these were the quizzes utilized in the 2004
22          to 2012 time frame, correct?
23                   A.   Correct.     Not by looking at them, no.
24                   Q.   Can you identify whether these were the
25          quizzes utilized in the 2004 to 2012 time period in

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1                                       H. Perkins
2           order to evaluate a learning of the recruits in the
3           relevant training subjects?
4                    A.    I can't identify if these were the
5           quizzes used.
6                          MR. STECKLOW:       With that, we're going to
7                    take a break.     The time is now 2:54 and we are
8                    off the record.
9                          (A recess was taken from 2:54 p.m. to
10                   3:11 p.m.)
11                   Q.    Have you had a chance to review
12          Exhibit 11?
13                   A.    Yes.
14                   Q.    What is Exhibit 11?
15                   A.    Exhibit 11 is the statistical report from
16          the exams in 2008 and 2009.            So, there's the first,
17          second and third trimester exams and the makeup
18          exams.
19                   Q.    So, it's not the exams themselves, it's
20          the analysis, correct?
21                   A.    Correct.
22                   Q.    I just want to take the second page.            You
23          take the first page.         Because there's headings, and
24          I think if I understand the headings, I'll
25          understand what we're talking about.

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1                                       H. Perkins
2                         So, looking at the heading, the first
3           thing has a number, right?           It's sort of each topic
4           has --
5                    A.   Yes.
6                    Q.   -- sort of three vertical columns, right,
7           and then they have a bunch of horizontal columns?
8                    A.   Correct.
9                    Q.   The three vertical columns, the first one
10          has a number.        And is that the number on the test
11          that it was, the one through 100?
12                   A.   Correct.
13                   Q.   So right now looking at number 20,
14          policing legally 16.         When it says policing legally
15          16, what does that 16 indicate?
16                   A.   That's the 16th question in the bank for
17          policing legally.
18                   Q.   Underneath the number 20 it says MCS.
19          What does that stand for?
20                   A.   I don't know what MCS stand for.
21                   Q.   The one above it says MCM.          Do you have
22          any idea what had a stands for?
23                   A.   No.
24                   Q.   Below that is the number 1.00.           Do you
25          have any understand what that stands for?

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1                                       H. Perkins
2                    A.   Yes.    That is how -- what is the weight
3           of that question.        So that weight is worth one
4           point.
5                    Q.   As you testified, there's 100 questions
6           on each of these trimester exams?
7                    A.   Correct.
8                    Q.   Each one weighs one?
9                    A.   Correct.
10                   Q.   Now, looking across the top column that
11          starts with the number 20, the one I'm looking at
12          the next number seems to be 617.               For each of them
13          on this page, which is six that I can see --
14                   A.   Mm-hmm.
15                   Q.   -- each of them has 617 as that number?
16                   A.   Yes.
17                   Q.   What does that mean?
18                   A.   There were 617 people taking the test.
19                   Q.   And then the number just below that,
20          policing legally is .96.           What does that indicate?
21                   A.   That would be the percentage of people
22          that got it right.        The percentage who scored
23          correctly.
24                   Q.   And so, on the top, across the very top
25          of the page where it says overall?

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1                                      H. Perkins
2                    A.   Yes.
3                    Q.   And then it says omits?
4                    A.   Yes.
5                    Q.   Does omits mean that that column is who
6           didn't answer that question?
7                    A.   Correct, who skipped that question.
8                    Q.   Then it says A, B, C, D, E?
9                    A.   Correct.
10                   Q.   Those would be the answers that it could
11          have been?
12                   A.   Yes.
13                   Q.   And A and B are true/false so some
14          questions are true/false?
15                   A.   No, they're all multiple choice.
16                   Q.   So the true/false is just something
17          that's in the database that isn't utilized but it's
18          just in the statistical form?
19                   A.   It's in the database for analyzing tests
20          and quizzes.     We do not use true and false in the
21          recruit trimester exams.          There are other tests and
22          quizzes that are given that use the same database
23          and the same systems, the same program, that's why
24          it will say true and false.
25                   Q.   Then across the answer, the lines with

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1                                      H. Perkins
2           the questions, starting again where I was looking at
3           which is policing legally, then I guess through the
4           letters A, B, C and D across the top it will tell
5           you how many of the 617 answered that way?
6                    A.   Correct.     And then what the percentage of
7           the overall is.
8                    Q.   And so for these, there's no E, even
9           though there's an E in the column, they're all out
10          of four, it's either A, B, C or D?
11                   A.   Yes.
12                   Q.   And there's no A or B?           It's all multiple
13          choice four?
14                   A.   Yes.
15                   Q.   Can you identify any question --
16          withdrawn.
17                        Is there a level of incorrect answers
18          that require some sort of, you know, acknowledgment
19          and review?
20                   A.   Yes.
21                   Q.   What is that?
22                   A.   Sixty-five percent.
23                   Q.   So, as an example, number 19 here, on
24          page 3 which is 19839, that seems to have a 35
25          percent; is that accurate?

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1                                        H. Perkins
2                    A.    Which question?
3                    Q.    Up here.
4                    A.    Yes.
5                    Q.    So, what would happen when that analysis
6           comes in?
7                    A.    Two days after the exam there's a meeting
8           with the testing unit, with the curriculum
9           evaluation unit, the commanding officer of the
10          recruit training unit and the lieutenants for the
11          day tour and the night tour because recruits are
12          trained on -- in both the morning and in the
13          evening.      So the lieutenants for both of those would
14          be present.
15                         The question would be discussed.           It
16          would be evaluated if the question itself was worded
17          incorrectly or problematically, if the material in
18          the student guide was worded incorrectly or
19          problematically and a determination of whether or
20          not the question would be thrown out completely,
21          thrown out for that, there would be a double answer
22          for that exam.         It might be changed for a future
23          exam and it would be evaluated as to whether -- why
24          that was such a low response.
25                   Q.    Okay.     Would there ever be an analysis of

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1                                      H. Perkins
2           any question that was uniformly answered correctly
3           with too high a percentage?
4                    A.   No.
5                    Q.   With the thought that, wow, no one ever
6           gets this one wrong, maybe it's a bit too easy,
7           doesn't really test someone's understanding, we're
8           giving this one away?
9                    A.   No.
10                   Q.   Is there -- withdrawn.
11                        This is a statistical analysis of three
12          separate trimester exams?
13                   A.   This is the first trimester 2008.
14                   Q.   While you're looking, I'm also going to
15          ask you if there's any summary of the analysis in
16          any of these documents.
17                   A.   So, this is the first trimester.
18                   Q.   Identifying the first trimester starting
19          on 19837 and ending on 19848.
20                   A.   And that is -- no, this is still that
21          trimester.     This is the same exam but for the --
22          there are two versions.         These were the version one
23          and this is version two of the exam.             Different
24          versions, same questions, just in different orders.
25          So that the -- it reduces the opportunity for

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1                                          H. Perkins
2           anybody to, you know, someone taking the same exam.
3                    Q.      Reduces the possibility of cheating?
4                    A.      Cheating, correct.          So that's the first
5           trimester exam, version one and version two.
6                    Q.      Version two begins on 19849 and ends on
7           19860.
8                    A.      Second trimester exam, version one starts
9           on 19861 and ends on 19872.
10                   Q.      Okay.
11                   A.      Version two starts on 19873 and ends on
12          19884.        The second trimester makeup exam, which
13          would be for those who failed the trimester exam
14          itself and after a week of reinstruction are given
15          the opportunity to take the exam again, starts on
16          19885 and ends on 19896.
17                   Q.      Do any of these explain out of the total
18          number of student takers how many passed and how
19          many failed?
20                   A.      The makeup would be how many failed.
21                   Q.      So, in the makeup it's showing 40
22          students?
23                   A.      Mm-hmm.
24                   Q.      Forty students out of 617 failed?
25                   A.      No, 40 students out of 1200.          It would be

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1                                        H. Perkins
2           600 and 600.
3                    Q.     Because we're looking at the first
4           trimester and the second trimester?
5                    A.     No, the versions.      Version one, half of
6           the academy takes version one --
7                    Q.     Forty out of 1200 failed and had to
8           retake it?
9                    A.     Correct.
10                   Q.     Can you identify from this how many
11          passed?       This being the makeup analysis.
12                   A.     No, not from this particular piece of
13          paper.
14                   Q.     What's the next set?
15                   A.     Third trimester exam version one starts
16          at 19897.       And that's 19908 is the end of version
17          one of the third trimester exam.
18                          And apparently we go into third -- that's
19          only version one.          I don't see version two of the
20          third trimester exam here.          I do see the third
21          trimester makeup exam.
22                   Q.     How many people took that?
23                   A.     Fifty-three.
24                   Q.     What's next?
25                   A.     Here we go.     This is third trimester.

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1                                      H. Perkins
2           This starts on 19909 and ends on 19920.             Now we have
3           the third trimester version two which starts on
4           19921 and ends on 19932.
5                    Q.   Since there's 400 pages here, I'm going
6           to ask you to turn to the end and see what the last
7           thing is.     See sort of what the ranges might be.
8                    A.   The range goes to the third trimester
9           makeup exam that was given in 5/19 of '09.
10                   Q.   Are there -- during a given year, how
11          many academy classes are there?
12                   A.   Approximately, during the period of time
13          covered, approximately two academy classes.
14                   Q.   So, there would be approximately six
15          trimester exams times two for two versions, 12?
16                   A.   Yes.
17                   Q.   And then there would also be a makeup for
18          each one of the three for each class --
19                   A.   Given some failed.
20                   Q.   - another six?
21                   A.   Yes.
22                   Q.   So we think that we're looking at 18 or
23          so trimester exams here?
24                   A.   I will defer to your math.
25                   Q.   Can you look through, without identifying

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1                                       H. Perkins
2           page numbers at this point, and tell me if you see
3           any summaries anywhere that give you an idea --
4           withdrawn.
5                          MR. STECKLOW:       I think we have summaries
6                    from the makeup exam.
7                    Q.    Is there any way of understanding from
8           looking at what you're seeing how many people in the
9           makeup passed?
10                   A.    I'll look to see if there is.
11                   Q.    Have you seen a document that gives you
12          that information?        Not here, but overall in your
13          experience.
14                   A.    Yes.
15                   Q.    Have you seen a document that summarizes
16          pass and fail rates?
17                   A.    Not rates, no.       Just who -- what named
18          recruits pass and what named recruits failed.
19                   Q.    Is that the document you've seen for
20          makeup tests as well?
21                   A.    Yes.
22                         MR. STECKLOW:       All right.    I think that's
23                   it for that.
24                   Q.    Can you tell from your review there how
25          many of these questions tested the knowledge of a

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1                                        H. Perkins
2           recruit on policing sidewalk protest?
3                    A.    No.
4                    Q.    Is there a way to look at the questions
5           and understand how many of the questions relate to
6           policing sidewalk protest?
7                    A.    From this paperwork, no.
8                    Q.    How would you do that if you had wanted
9           to do that outside of this paperwork?
10                   A.    I would have had to submit a request to
11          testing.      All of the questions are kept locked away,
12          so you would have to request of testing to look at,
13          say, policing legally question number 23 from the
14          8/18/08 version one test, pull that out and you can
15          look at that question and you can see then what the
16          question was, what the possible answers were and see
17          what it was testing on.
18                   Q.    Okay.    Thank you.       Exhibit 10 which I
19          believe you testified were quizzes not the trimester
20          exam, correct?
21                   A.    Correct.
22                   Q.    Are they the same questions utilized in
23          the trimester exam?
24                   A.    No.
25                         MR. STECKLOW:        I would make a request and

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1                                        H. Perkins
2                    I'm going to put it in writing for the
3                    trimester exams that match up these statistical
4                    analysis so we can actually understand what the
5                    questions are and review them that way.
6                            MS. ROBINSON:      Noted.
7                            MR. STECKLOW:      I think with that, that's
8                    all I have.
9                            MS. ROBINSON:      I have a few questions.
10                           MR. STECKLOW:      I'm sorry.        Give me one
11                   second.
12                           (Discussion held off the record.)
13                           MR. STECKLOW:      I was going to do this
14                   afterwards, but I'll do it now.              After the last
15                   two deposition we had, September 18th and 20th,
16                   we served plaintiffs' eighth set of document
17                   requests on defendant both by e-mail and by
18                   mail.     And I haven't heard back.           They're not
19                   yet due, but just to make it clear, I'm going
20                   to hand you another copy of it now.
21                           MS. ROBINSON:      Did you send it to Alison?
22                           MR. STECKLOW:      I e-mailed it to everybody
23                   and then mailed it, I believe, to Alison.               I
24                   may have mailed it to you.              I'm not going to
25                   say I remember who I mailed it to.              I know that

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1                                        H. Perkins
2                    I mailed it.
3                             MS. ROBINSON:     That's fine.        If you
4                    e-mailed it to everybody, then Alison...
5                             MR. STECKLOW:     I'm also going to hand you
6                    what is a work in progress, but this would be
7                    from today's deposition request.              I believe I'm
8                    going to update that.        But I just wanted to
9                    make sure that if I don't get around to
10                   updating it, that discovery doesn't close
11                   without me having serving it.
12                            It's a little confusing, because we're
13                   supposed to have two weeks after each
14                   deposition to do demands, but today is the
15                   close of fact discovery and we didn't ask the
16                   court to extend it to correlate to these two
17                   weeks.     So I think I want to try to get
18                   something out today anyway just to belt and
19                   suspender the whole thing.
20                            MS. ROBINSON:     Okay.
21                            MR. STECKLOW:     But with that, I have no
22                   further questions at this point.
23                            MS. ROBINSON:     Okay.        I have a few
24                   follow-up questions.
25          ////////////////////////////////////////////////////

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1                                          H. Perkins
2           EXAMINATION BY
3           MS. ROBINSON:
4                    Q.       Sgt. Perkins, does the academy provide
5           training on the First Amendment?
6                    A.       Yes.
7                    Q.       And does the academy provide training on
8           the First Amendment with respect to protests and
9           demonstrations?
10                   A.       Yes.
11                   Q.       And what is the substance of that
12          training?
13                   A.       The academy provides training on allowing
14          persons to protest within the -- petition the
15          government, freedom of speech, speak their mind, do
16          it in a public place and the various aspects of
17          that.         That there -- the police are -- it's our job
18          at a demonstration or protest to keep everybody
19          safe, to keep protesters safe as well as the people
20          on the street and the people that the protesters
21          might be protesting, to balance the needs of the
22          people to get where they're going with the rights of
23          the protesters to say what they need to say.
24                   Q.       Is the training that you just testified
25          to with respect to the First Amendment, is that

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1                                      H. Perkins
2           included in any particular lesson plans?
3                    A.   The training is touched on in the
4           introduction to the law which talks about the
5           Constitution and the Bill of Rights in particular.
6           And is more specifically addressed on when talking
7           about particular offenses, when talking about public
8           order, maintaining public order.               It's also
9           referenced in other areas of the training and it's
10          because the First Amendment -- the Bill of Rights
11          constrains police action in various ways that comes
12          in through training throughout the recruit
13          curriculum.
14                   Q.   And is this training also provided
15          somewhere in the police students' guide?
16                   A.   Yes.
17                   Q.   Where would that be located?
18                   A.   It would be in maintaining public order
19          and public -- maintaining public order when we teach
20          recruits about the offenses about public order,
21          introduction to the law, when talking about
22          authority to arrest and summonsing, when talking
23          about the policing professionally and the various
24          roles of a police officer, the order maintenance
25          roles of a police officer throughout the curriculum.

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1                                       H. Perkins
2                    Q.    Does the academy provide training --
3           withdrawn.
4                          And is that training provided to all
5           recruits?
6                    A.    Yes.
7                    Q.    Does the academy provide training on the
8           Fourth Amendment?
9                    A.    Yes.
10                   Q.    And where do you -- where would you find
11          written materials with respect to the academy's
12          training on -- with respect to principles of the
13          Fourth Amendment?
14                   A.    The Fourth Amendment would be covered in
15          authority to arrest, introduction to law, search and
16          seizure, street encounters.
17                   Q.    And what is the Fourth Amendment -- I'm
18          going to refer back to the 30(b)(6) notice.               What
19          are the constitutional limits on police power to
20          arrest pertaining to the Fourth Amendment?
21                         MR. STECKLOW:       I'm going to object.       This
22                   is beyond the scope of the direct examination.
23                   A.    With regard to the Fourth Amendment,
24          Fourth Amendment states that police need probable
25          cause in order to make an arrest.

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1                                      H. Perkins
2                    Q.   Where -- is that the same place where you
3           would find the written materials that the academy
4           provides where you would find the principles of the
5           Fourth Amendment that probable cause is essentially
6           the same materials?        If that makes sense.
7                    A.   The materials that cover the Fourth
8           Amendment in introduction to law talk about the
9           principles of the Fourth Amendment with respect to
10          making arrests, that would be under authority to
11          arrest.
12                   Q.   Does the police academy -- withdrawn.
13                        And is that the training at the academy
14          with respect to the principles of Fourth Amendment,
15          is that given to all recruits, NYPD recruits?
16                   A.   Yes.
17                   Q.   Does the NYPD Police Academy train on
18          enforcement of PL 240.25?
19                   A.   Yes.
20                   Q.   What is PL 240.25?
21                   A.   Disorderly conduct.
22                   Q.   And in particular, is that blocking the
23          vehicular/pedestrian traffic?
24                   A.   Blocking, yes.
25                   Q.   And what is the state of mind required to

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1                                      H. Perkins
2           enforce a violation for PL 240.25?
3                    A.   Intentional or reckless.
4                    Q.   Intentional or reckless; explain that,
5           please.
6                    A.   That in order to be charged with
7           disorderly conduct, the actions or whatever that
8           they are engaging in, they have to do so with intent
9           to cause a substantial inconvenience or recklessly
10          causing that inconvenience, which means being aware
11          that you're doing it and disregarding the risk that
12          you caused that substantial inconvenience.
13                   Q.   What kinds of blockage is necessary with
14          respect to enforcing 240.25 in what has been
15          referred to as a sidewalk protest?
16                   A.   It -- the recruits are instructed that in
17          order to enforce 240.25 that there has to be a
18          substantial blockage, substantial inconvenience;
19          that mere inconvenience does not raise to the
20          elements of the offense.
21                   Q.   And in the written materials that the
22          academy provides, where would that training be
23          found?
24                   A.   In the maintaining public order.
25                   Q.   Does the NYPD Police Academy train on

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1                                      H. Perkins
2           enforcement of PL 240.26?
3                    A.   Yes.
4                    Q.   And where would that training be found?
5                    A.   In maintaining public order.
6                    Q.   And does the enforcement of 240.25 and 6
7           include training with respect to enforcing those PL
8           sections at demonstrations or protests?
9                    A.   It's -- demonstrations and protests are
10          discussed as part of the training material and
11          the -- not just with respect to those but with other
12          public order situations and offenses, it is
13          discussed with regard to in general and at protests
14          or demonstrations.
15                   Q.   And does the NYPD Police Academy provide
16          training on OGA?
17                   A.   Yes.
18                   Q.   Where would you find written materials
19          with respect to police academy training on OGA?
20                   A.   In maintaining public order.
21                   Q.   Are all recruits provided with that
22          training?
23                   A.   Yes.
24                   Q.   What is the state of mind required for
25          enforcement of OGA?

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1                                      H. Perkins
2                    A.   Intention.
3                    Q.   And what is the substance of OGA?            What
4           are the elements aside from the state of mind?
5                    A.   That the individual has to intend on
6           obstructing an official while doing their duty, so,
7           prevent them from performing their official duty,
8           but they have to intend to do so.
9                    Q.   And this training, is it provided to all
10          recruits at the NYPD Academy?
11                   A.   Yes, it is.
12                   Q.   Was training on the First Amendment,
13          Fourth Amendment and the disorderly conduct PL
14          sections that we've just discussed in OGA, were they
15          trained by the NYPD Police Academy during the period
16          2004 to 2012?
17                   A.   Yes.
18                   Q.   I'm going to show you what's been marked
19          as Exhibit 7.
20                   A.   Yes.
21                   Q.   Police academy training memo with respect
22          to disorderly conduct.         I would just ask you to
23          review that and let me know if there is anything in
24          that memo that was not trained at the police academy
25          prior to December of 2007.

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1                                         H. Perkins
2                    A.       With respect to how police officers are
3           expected to execute their job, no.
4                    Q.       So, would -- does Exhibit 7 require any
5           change to lesson plans, police academy lesson plans?
6                    A.       No.
7                             MS. ROBINSON:      That's all I have right
8                    now.
9                             MR. STECKLOW:      Okay.        I have follow-up
10                   based on the questions you asked.
11          BY MR. STECKLOW:
12                   Q.       I believe you previously testified in
13          response to a question by Ms. Robinson that the
14          primary goal in policing protest activity is to
15          facilitate the pedestrians in protest; was that your
16          testimony?
17                   A.       It's to make sure that everybody stays
18          safe.         So, not just the pedestrians in a protest,
19          but pedestrians that were walking past, people that
20          were operating a vehicle, entities against which the
21          people are protesting.            Public safety is the -- and
22          maintaining public safety is the primary goal.
23                   Q.       And that was your earlier testimony to
24          Ms. Robinson, public safety is the primary goal?
25                   A.       I would have to read what I said but the

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1                                       H. Perkins
2           primary goal is safety and -- one of the primary
3           goals is safety and -- of the people involved and we
4           also have to be there to insure that the rights of
5           the protesters to protest are upheld.
6                          MR. STECKLOW:       I'm going to ask for a
7                    break for a second.
8                          MS. ROBINSON:       Yeah.
9                          MR. STECKLOW:       The time is now 3:44 and
10                   we are taking a quick break.
11                         (A recess was taken from 3:44 p.m. to
12                   3:46 p.m.)
13                         MR. STECKLOW:       The time is now 3:46 we're
14                   back on the record at my office at 217 Centre
15                   Street.
16          BY MR. STECKLOW:
17                   Q.    I am going to show you what has
18          previously been marked as Plaintiff's Exhibit 4, the
19          demonstration lesson plan.
20                   A.    Yes.
21                   Q.    You testified that this lesson plan was
22          incorporated into other lesson plans that currently
23          exist at the NYPD, correct?
24                   A.    Yes.
25                   Q.    And that in the time period between 2004

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1                                      H. Perkins
2           and 2012 this lesson plan was incorporated into
3           lesson plans that were taught at the academy --
4                    A.   Yes.
5                    Q.   -- correct?
6                         And so, among the items in the lesson
7           plan, performance objectives?
8                    A.   Yes.
9                    Q.   What is a performance objective?
10                   A.   It is something that you want the
11          attendee of the training to understand by the end of
12          the training.
13                   Q.   So, what they do is, they list the
14          objectives that the course, the lesson plan attached
15          to it are supposed to teach?
16                   A.   Yes.
17                   Q.   And that subsequent to this lesson plan,
18          at some point did the NYPD change the term from
19          performance objectives to learning objectives?
20                   A.   Yes.
21                   Q.   Is that currently the words that are
22          used, learning objectives?
23                   A.   Yes.
24                   Q.   And in 2004 to 2012 that was the term,
25          learning objectives?

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1                                       H. Perkins
2                    A.    They changed.       Sometimes they were called
3           terminal performance objectives, performance
4           objectives, learning objectives.                Learning outcomes
5           was also a word used at one point.
6                    Q.    Because the concept was that in the very
7           beginning we want the instructors to know, here's
8           what people should understand to your teaching at
9           the end, correct?
10                   A.    Correct.
11                   Q.    Can you read number two out loud?
12                   A.    Explain that the primary role at a
13          demonstration is to maintain order and prevent delay
14          to non-demonstrators.
15                   Q.    I think you missed a word so can you
16          please repeat that and make sure you use every word?
17                   A.    Explain that the primary police role at a
18          demonstration is to maintain order and prevent
19          delays to non-demonstrators.
20                         MR. STECKLOW:       I have no further
21                   questions.
22                         MS. ROBINSON:       I have one follow-up
23                   question.
24          BY MS. ROBINSON:
25                   Q.    Sgt. Perkins, how does the NYPD Police

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1                                      H. Perkins
2           Academy train on how to protect protesters' rights
3           at demonstrations?
4                    A.   Talking about -- we train the recruits to
5           understand that protesters at demonstrations are
6           allowed to be able to protest, to be able to be
7           within sight and sound of the object of their
8           protest, that if there's enough space for them to
9           protest and the public to go about their business,
10          that that's okay, that we have to be able to make
11          sure that the protesters aren't in danger and that
12          the public is not in danger.           That we have to
13          maintain our professionalism, that we have to make
14          sure that the protesters' rights are balanced
15          against everybody else's rights and it's not just
16          about one or the other.
17                   Q.   And did every recruit receive this
18          training during the period 2004 to 2012?
19                   A.   Yes.
20                   Q.   And is that training memorialized in any
21          written materials provided by the NYPD Police
22          Academy?
23                   A.   In the maintaining public order.
24                   Q.   Do the recruits' or police officers'
25          training transcripts reflect that First Amendment

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1                                        H. Perkins
2           training, Fourth Amendment training, PL sections,
3           that they received that training at the academy?
4                             MR. STECKLOW:     I'm going to object
5                    because I think we're now way beyond my
6                    redirect.     I asked three questions specifically
7                    on this one lesson plan.          I've given some
8                    leeway.     I think you're now a little far afield
9                    of it.
10                            MS. ROBINSON:     Are you saying that I
11                   can't ask the question?
12                            MR. STECKLOW:     I can't instruct your
13                   witness not to answer.         I'm telling you as an
14                   attorney to be fair here and I think you're
15                   beyond the scope -- and I think you were
16                   slightly beyond the scope before, but, you
17                   know, we're collegial and I wanted to allow you
18                   to finish.     You said you had just a couple.
19                   But now we're about fourth, fifth question in
20                   and I think you're continuously moving further
21                   afield.     So I'm asking that you withdraw the
22                   question.
23                            MS. ROBINSON:     I'll withdraw the
24                   question.     I'll withdraw the question.        Then I
25                   don't have any further questions.

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1                                       H. Perkins
2                          MR. STECKLOW:       Thank you.     We're done.
3                          (Whereupon, the proceedings were
4                    adjourned at 3:52 p.m.)
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6
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1
2        STATE OF ______________ )
3                                              )     :ss
4        COUNTY OF ______________)
5
6
7                       I, HEATHER PERKINS, the witness
8        herein, having read the foregoing
9        testimony of the pages of this deposition,
10       do hereby certify it to be a true and
11       correct transcript, subject to the
12       corrections, if any, shown on the attached
13       page.
14
15                                      ______________________
16                                            HEATHER PERKINS
17
18
19
20       Sworn and subscribed to before me,
21       this ________ day of __________, 2018.
22
23       _______________________________
24                     Notary Public
25

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1
2                              CERTIFICATE
3
4           STATE OF NEW YORK )
5                                   ) ss.
6           COUNTY OF SUFFOLK)
7
8                        I, Elizabeth F. Tobin, a Registered
9           Professional Reporter and Notary Public within and
10          for the State of New York, do hereby certify:
11                       That Heather Perkins, the witness whose
12          deposition is hereinbefore set forth, was duly sworn
13          by me and that such deposition is a true record of
14          the testimony given by such witness.
15                       I further certify that I am not related
16          to any of the parties to this action by blood or
17          marriage and that I am in no way interested in the
18          outcome of this matter.
19
20
21
                             <%17424,Signature%>
22                           ELIZABETH F. TOBIN, RPR
23
24
25

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1                          INSTRUCTIONS TO WITNESS
2
3               Please read your deposition over carefully
4        and make any necessary corrections. You should state
5        the reason in the appropriate space on the errata
6        sheet for any corrections that are made.
7               After doing so, please sign the errata sheet
8        and date it.
9               You are signing same subject to the changes
10       you have noted on the errata sheet, which will be
11       attached to your deposition.
12              It is imperative that you return the original
13       errata sheet to the deposing attorney within thirty
14       (30) days of receipt of the deposition transcript by
15       you. If you fail to do so, the deposition transcript
16       may be deemed to be accurate and may be used in court.
17
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2
3
4
5                      I wish to make the following changes,
6                for the following reasons:
7
8                PAGE LINE
9                ___    ___ CHANGE:__________________________
10               REASON:___________________________________
11               ___    ___ CHANGE:__________________________
12               REASON:___________________________________
13               ___ ___ CHANGE:___________________________
14               REASON:___________________________________
15               ___ ___ CHANGE: __________________________
16               REASON:___________________________________
17               ___ ___ CHANGE: __________________________
18               REASON:___________________________________
19
20             _________________________                   _____________
                       HEATHER PERKINS                            DATE
21
22           SUBSCRIBED AND SWORN TO BEFORE
23           ME THIS ___DAY OF_______, 201 .
24
             __________________                    __________________
25           NOTARY PUBLIC                         COMMISSION EXPIRES

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